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Excerpts of the Deposition of Vicki E. Esralew

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Page |
1 UNITED STATES BANKRUPTCY COURT
2 FOR THE
3 NORTHERN DISTRICT OF ILLINOIS
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5

6 Rollin J. Soskin, Eugene Terry,

7 Nicole Terry and Terry's Company,

RE ROR OOO

9 Plaintiffs,
/

10
11 vs. Case No. 04-B-24393
13. Vicki E. Esralew,
14
15 Defendant.
160 0 Ferre e - -  -  - - =
”
18 Deposition of Vicki E. Esralew ,
19
20 November 28, 2005
21 -at-
22 Crooks Law Office
23 Three First National Plaza
24 70 West Madison Street, Suite 1950
25 Chicago, Illinois

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1 APPEARANCES 1 and all depositions.
2 2 Let the record reflect that this is the deposition
3 For Plaintiffs: 3 of Vicki Esralew who is the debtor and a party to the
4 Thomas Carl Crooks 4 lawsuit. . It's taken pursuant to the federal rules of civil
5 Crooks Law Office 5 procedure, the local rules as well as the rules of
6 Three First National Plaza 6 bankruptcy, and this date was set by agreement of the
7 70 West Madison Street, Suite 1950 7 parties.
8 Chicago, Illinois 8 EXAMINATION
9 9 BY MR. CROOKS:
10 For Defendant: 10 Q. Ms. Esralew, could you just state your name
11 Gina Marie Krol 11 officially for the record? R
12 Cohen and Krol 12 A. Vicki Esralew. :
13 105 West Madison Street, Suite 1100 13. Q. And what's your date of birth?
14 Chicago, Illinois 14. A. 12/26/1958.
15 15 =Q. And your Social Security number?
16 Also Present: 16 A. XXX-XX-XXXX.
17 Rollin Soskin 17 Q. Now I'm going to ask you a series of question that |,
18 Eugene Terry 18 relate to the litigation. And a couple of ground rules that |,
19 19 your attorney's probably already gone over with you, but I
20 RECORDER: We're now on the record. My name is 20 just want to go over to make sure. When I ask you
21 Tracey Field. I'm employed by Textnet Court Reporters. 21 questions, I'm going to let you answer them. I don't have
22 Today's date is November 28th, 2005, and the time as it 22 any intention of cutting off your answers or limiting your
23 appears in the camera is 1:15 p.m. We are Crooks Law Office) 23 answers, though I would ask that you just focus and answer
24 in Chicago, Illinois, appearing in the matter of the United 24 the question as it is asked. If I cut your answer off
25 States Bankruptcy Court for the Northern District of 25 before you've completed it, please tell me that I've done
Page 3 Page 5
1 Illinois, Rollin J. Soskin, Eugene Terry, Nicole Terry and 1 that, and I'll let you finish your answer. In fact, if
2 Terry's Company, Inc. versus Vicki E. Esralew. Ms. 2 later in the deposition you think of something that which
3 Esralew, at this time would you please raise your right hand | 3 should have been included in an earlier answer, you can
4 to be sworn? 4 bring that to my attention. I will let you add it. Ifthe
5 (Oath administered) 5 answer to a question is yes or no, please say yes or no as :
6 RECORDER: Thank you. Will the attorneys please 6 opposed to nodding your head or saying uh-huh or mm-hmm just,
7 state their appearances for the record? 7 so it's clearly a yes or ano. If you need a break for any :
8 MR. CROOKS: Thomas -- 8 reason, just let us know. We'll be happy to accommodate
9 MS. KROL: Gina -- oh, I'm sorry. 9 you. If] ask a question badly and you don’t understand it,
10 MR. CROOKS: Go ahead. 10 just tell me you don’t understand it. I'll be happy to
11 MS. KROL: Gina Krol for Vicki Esralew. 11 rephrase the question or tell you what information I'm
12 MR. CROOKS: Thomas Crooks on behalf of the 12 looking for. If you go ahead and answer the question, I'll
13 plaintiffs. 13 assume you did understand it. Is that fair?
14 RECORDER: And also present are Rollin Soskin and| 14 A. Fair.
15 Eugene Terry. You may proceed. 15 Q. Okay. If you could, summarize your educational
16 MS. KROL: Thank you. And as we were indicating | 16 background.
17 off the record, I do have an objection to Mr. Terry being 17_—_—A. :_I graduated from University of Illinois in 1980.
18 present today. His deposition is scheduled to be taken by 18  Q. Was that here at Circle Campus or Champagne?
19 me later in the week. And inasmuch as he has not yet given| 19 A. Champagne.
20 his deposition, I am concerned that his presence today would 20 QQ. And what was your degree in?
21 somehow prejudice the testimony he might give in the 21 A. Communications, school.
22 deposition to be taken later in the week. So I do have that 22 QQ. And that was a bachelor's degree?
23 objection. 23. A. Yes.
24 MR. CROOKS: Okay. And our position is he is a 24 Q. Any graduate education?
25 party to the lawsuit and has a right to be present for any 25 A. No.

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1 Q. And what was your first employment when you got| 1 Q. Why did you have to leave your job in order to do
2 out of school in 1980? 2 that?
3 A. I worked at Blair Television. 3 A. I worked about six days a week and I had no time
4 Q. And what kind of work was that? 4 to -- it was just a dream of mine I wanted to pursue.
5 A. Secretarial. 5 Q. Now -- so that would be approximately 1990?
6 Q. Those communication degrees are handy, huh? 6 A. Approximately '89 maybe.
7 A. Not much. 7 Q. Okay. Were you married at the time?
8 Q. How long did you work as a secretarial -- as a 8 A. Yes. [had just gotten married.
9 secretary for Blair Television? 9 Q. You married Bob Aren?
10 A. About 18 months. 10 =A. Yes.
il Q. And what was your next job? 11 Q. Where were you living at the time?
12 A. I worked at a media firm that I think's out of 12 A. Northbrook, Illinois.
13 business called Harrington Reuter and something. 13 Q. Okay. So did -- you left your job at WGN to write
14 Q. Where were they located? 14 children's books?
15 A. Chicago. 15 A. Mm-hmm.
16 Q. When you say media firm, what did they do? 16 Q. Did you write children's books?
17 A. Iwasasecretary. They did -- they bought media 17. +A. Years later. I didn’t write them then.
18 time around the country. 18 QQ. What did you do right after --
19 Q. Like for advertising? 19 A. One of my clients --
20 A. It was -- I was a secretary to -- yes, for 20. Q. -- WGN? |
21 commercials for clients. 21 A. One of my clients who was Fannie May Candies asked
22 QQ. Okay. Who did you directly do your secretarial 22 to handle their advertising, so I started an ad agency.
23 work for? 23 Q. What was the name of that ad agency?
24 A. Somebody named Nina. I have no clue ofher last | 24 A. It was called Capital Advertising.
25 name. It was in 19 I don't know '82 maybe. 25 QQ. Did you have that plan in mind at the time you
Page 7 Page 9
1 Q. Do you know the name of the principal person 1 left WGN?
2 involved in that entity? 2 A. Don’t really remember. I wanted to write books
3 A. No clue. 3 and they asked me to do it, and I needed to put food on the
4 Q. Did they buy just television media time or radio 4 table, so I started an ad agency.
5 time as well? 5 Q. Was your husband Bob working at the time?
6 A. I'm not sure. They were a big company. I worked 6 A. Yes, I believe he was a trader at the time.
7 in an office here. I think they were nationwide. I think. 7 Q. And how long did your ad agency remain in
8 Q. Why did you leave that job? 8 business?
9 A. I went to go work at WGN radio. 9 A. Until I'm guessing, to the best of my
10 Q. What did you do for WGN? 10 recollection, maybe '96.
11 A. Iwas an account executive. 11 Q. So approximately seven years?
12. Q. And what were you selling? 12) A. Mm-hmm.
13 A. Radio time. 13 RECORDER: Is that a yes?
14. Q. Who was your supervisor? 14. A. Approximately.
15. A. Somebody named Bob Sparr. 15 THE WITNESS: Pardon me? |
16 Q. What was the last name? 16 RECORDER: If you could say yes or no instead of |
17 A. Sparr. 17 mm-hmm. :
18 Q. Do you know how to spell that? 18 <A. Approximately.
19 A. S-p-a-r-rI believe. 19 QQ. What did you do for the ad agency?
20 Q. And how long did you have that position? 20 A. I wrote commercials. I hired kids to do --
21 A. Iwas there for about eight years, maybe eight and! 21 produce the commercials or adults to produce the
22 ahalf years, maybe eight years. 22 commercials. A lot of the commercials the personalities
23 Q. And why did you leave that position? 23 just read out loud. I did -- I -- there wasn't really
24 A. I left there because I wanted to write children's 24 invoicing. I'd get the invoice from the radio station. I'd
25 books on validating feelings. 25 just put it in the envelope and give it to the client. I

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A. Idon't remember. I mean, Rollin, were you doing
the accounting for Capital? You incorporated it. I don't
really remember who the accountant was.

Q. Were you making money when you were in business?

A. For the Cap -- the radio advertising, yes.

Q. Give me an idea for the seven years that you --
seven or eight years, whatever that number was, that you had
this business, what was your annual income and I mean from
this business during that time period?

A. I didn’t have an annual income. I booked media

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home with -- when your first child was born, you stayed out
there in the working world as opposed to you staying home

with the child and him staying out working as a trader? Do

you know why that was decided that way?

A. Yes, the agency was more successful than his
trading. He did not do that well with trading. He was risk
averse, and it's hard to be a trader and be risk averse.

Q. Now eventually that business ended, correct?

A. Yes.

Q. Why is that?

1 wasn't really doing a lot of bookkeeping because I'm not a 1 time, so I made 15 percent whatever the schedules did. And
2 bookkeeper, but I would just pass that along. And then I 2 I don't recall what people -- what Fannie May spent or
3 bought radio time for them. 3 Nevada Bob's spent.
4 Q. Did you strictly do radio buying in your own ad 4 Q. Do you remember what number was on your tax retu
5 agency? 5 at the end of any of those years?
6 A. No. 6 A. No clue.
7 Q. You did television time buying as well? 7 Q. Even approximately?
8 A. Maybe one percent. Maybe one time in the seven 8 A. No clue. I know about what they booked. We could
9 years. 9 pull out a calculator and do the math. Ina year they
10 QQ. And for what client was that? 10 booked probably five or six or seven hundred thousand
11 A. Imay have done one schedule for Nevada Bob's Golf 11 dollars to maybe eight hundred thousand dollars. Maybe.
12 on TV. I might have done one television schedule, but I 12 Q.. That --
13 think it was -- mostly it was radio, 99 percent of it was 13. A. :-_To the best of my recollection. It was I don't
14 radio. I think I did a few newspaper ads in local papers, 14 know 10 years ago, 12 years ago.
15 but radio was what I knew. 15 = Q._: And you received 15 percent.
16 Q. Now other than Fannie May, did you have any other} 16 A. I made 15 percent less expenses. The way I set it
17 customers or clients? 17 up, I would -- if there was any costs I had associated, I
18 <A. Nevada Bob's Golf. 18 would pay those costs. If I had kids doing commercials or
19 Q. Nevada Bob's Golf. Anybody else? 19 adults doing commercials, I would pay that. If I had
20 <A. Idid a media schedule one time for somebody who | 20 producers going into a studio, I'd pay that. That's just
21 needed help with Kraft. I don't know where it came from, 21 how I set it up.
22 but I remember checking the radio schedule for Kraft. And] 22 QQ. Out of your 15 percent?
23 did a demo commercial, which didn’t go anywhere, for 23. A. Mm-hmm.
24 somebody at Sunbeam. 24 Q. That's a yes?
25 Q. Was that a TV commercial or radio commercial? 25 A. Yes.
Page 11 Page 13
1 A. Radio. I was always radio. 1 Q. Do you remember having financial difficulties
2 Q. How many employees did you have at -- at your high 2 during the time period when you ran the business?
3 point with that company? 3 A. The advertising agency?
4 A. There was maybe a period of time, short, that I 4 Q. Yeah. i
5 had somebody helping for a couple months, but it was me. 5 A. No. Ijust remember working 20 hour days. |
6 Q. Was your business a corporation? 6 Q. And was your husband Bob working as a trader
7 A. Ask Rollin, he set it up. I don't remember. An 7 during the time period you were running your own ad agency,
8 LLC, I don't know if that's a corporation or an S Corp or a 8 A. He stopped working as a trader and was a stay-at- :
9 -- it might have been an S Corp, I don't know. 9 home dad, and I don't recall exactly when. My guess, which |
10 Q. What's your understanding of an S Corp? 10 is just a guess, was maybe '92, '91, after my son was born.
11 A. One's an S Corp, one's an LLC, I don't know other 1] Q. So fairly early on in the period you were running /
12 -- other than one's an S Corp, one's an LLC. I don't know 12 this ad agency he became a stay-at-home dad?
13 if it's corporation. I just know it says S Corp or LLC, I 13. A. Yes, by our choice. L
14 don't really know the difference. 14 = Q. Can you -- can you tell me why that decision was
15 Q. Did you have an accountant for your business? 15 made? In other words, he gave up a job as a trader to stay
16
17
18
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A. Because I started up a business that I'd dreamt
about, it was the wanting to write children's books. And I
started it up, and I worked on that business. And I believe
I started it in '93, and I learned how to make products from
the ground up between 10, 11 at night until about three in
the morning for about a year and a half, and I just didn’t
have the physical strength to -- to do both after about a
year and a half.

Q. So you started the new business while you were
still running the ad agency?

A. Yes.

Q. Eventually you just put all your efforts into the
new business?
Yes.
Were there any partners in the ad agency?
No.
You were the sole owner?
Yes.
. Did your husband receive a salary out of that
business?

A. The ad agency, no.

Q. Now what was your new entity, this new business
you started? Did it have a name?

A. I believe when I first started it. Rollin Soskin
set it up, it was called Enivar Roads, which is a name I

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Q. Where did you get the capital to start that
company?

A. Idon't think there was really any capital to
start Enivar Roads except maybe $25 to print up a brochur
at Kinko's.

Q. And if you could --

A. I don't know.

Q. -- explain to me what did Enivar Roads do? You
said this north shore coupon business that --

A. Enivar Roads didn’t do anything. It was an idea
that I had. Do you want me to really repeat the same thing
I said --

No.

-- twice?

No. I sure don’t.

Okay. It didn’t do anything.

What -- what were you intending to have it do?
The same thing I just said twice. To set up -- it
was an idea to have a coupon, like the entertainment book
coupon or something. But I don't -- it might have been
before the entertainment book or after, I really don’t
recall. It was a long time ago. And I wanted to do
something that could give parents that were on a budget a
coupon to go to places. :

Q. Now when you did the name change to Kids Count,

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made up. It was Ravine spelled backwards. And I was --
made it up to bring in supplemental income, and it was like
a coupon -- like kind of showing the best on the north
shore, like a coupon place that they do charity things
with. I never did anything with it except set it up and try
to write a brochure. But I didn’t have the ability to sell
or the work involved.

I took that entity, whatever that was, an S Corp,
an LLC, I don't recall, and I did a name change or Rollin
Soskin did a name change to Kids Count. And I don't frankly
recall if it was Kids Count, Inc. or Kids Count, LLC, it
was one of them.

Q. And why did you make that name change?

A. Well, Enivar Roads meant nothing to anybody, and
it was set up to be a company to do like the best of the
north shore type of coupon thing with charity. I did not do
anything with that, as I just said. I wanted to pursue this
dream I had about making the type of tools that I thought
kids desperately needed, and I used that business entity and
I wanted to put a name that was fitting to the name. So I
never considered using Enivar Roads because it meant nothing
to anybody. It was made up name.

Q. Were there any -- did you have any partners or
investors in the Enivar Roads business?

A. No.

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LLC or Inc., whichever it was, at that time did you have an
investors in the business?

A. When I first set up the business, I do not believe
so.

Q. At some point did you have investors or partners
in Kids Count?

A. Yes.

Q. Okay. Tell me who they are, when they came in.

A. To the best of my recollection because I started
it in 1993, at some point Bob Leeper came into Kids Count.

Q. Did he buy a percentage of the company?

A. He -- I don't know if the right way is saying buy
a percentage of the company, but he put money in the
business and he was going to get five -- or did get five
percent of Kids Count.

Q. How much money did he put in the business?

A. I don't recall how much he put in altogether. He
put some money in. He lent some money, that was a bank
note. I don't recall, but it was all listed in whatever

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20 memorandum that had debts and had people that invested.
21 ~=Q. ‘Did you have a written --
22 A. I don't want to guess. i
23 Q. -- agreement with Mr. Leeper? |
24 A. Did I, Rollin? You were our attorney. I don't |
25 know. |

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1 Q. lappreciate -- I understand you're looking at 1 A. Okay.
2 Rollin and asking him questions, but he's really not allowed 2 Q. And later there was the LLC.
3 -- 3 A. Because there was --
4 A. Well, I mean he was our attorney. I -- I don't -- 4 Q. I couldn't tell you the dates off the top of my
5 do Ihave a written agreement? If he gave him an agreement, 5 head.
6 like a subscription agreement or something? 6 MS. KROL: And I don't recall the dates either.
7 MR. SOSKIN: Can we go off the record for a 7 Q. Okay. And let me ask you this. Did it become an
8 second? I never had anything -- 8 LLC when Alan Young became involved, does that ring a bell?
9 (Off the record) 9 A. Yeah. Oh, of course.
10 RECORDER: We're back on the record. 10 Q. Okay.
11 THE WITNESS: I'm adjusting myself. Sorry. 11 A. Yeah. I just don’t -- because I get -- I don't
12 Sorry. Okay. 12 know -- .
13. Q. Allright. The -- the last question was whether 13. Q. Okay.
14 or not you had a written agreement with Mr. Leeper regarding} 14 A. -- LLC, shmell-L-C. I mean I don't know. So when
15 his investment in Kids Count. 15 Alan Young came in, we --
16 A. Idon't recall. I'd have to ask the attorney. 16 QQ. What -- you know what, I didn’t ask you about Alan
17 Q._ Did you have an attorney that handled the day to 17 Young yet though.
18 day legal business of Kids Count? 18 A. Okay.
19 MS. KROL: During what time period? 19 Q. I'll get to him. I'm looking for the question --
20 Q. Well, from the beginning after it became Kids 20 the answer to the question any lawyers that did any work for
21 Count and then going forward. 21 Kids Count Entertainment, Inc.
22 A. Rollin Soskin was handling legal work, ultimately 22 <A. Yes. When Alan Young came in there was a lawyer
23 was doing accounting for us. 23 that introduced me to him and Wes Neisen from Katten,
24 Q. And when was he doing legal work or accounting for | 24 Muchin, Zavis.
25 Kids Count? 25 Q. And Wes Neisen was a lawyer in the Chicago area?
Page 19 Page 21
1 A. Well, I know he'd set up the name change in 1993. 1 A. Yes.
2 Idon't think there was much legal work to do and accounting 2 Q. What work did he do for Kids Count?
3 work except at the end of the year or the end of the 3 A. J -- to the best of my recollection, he -- he did
4 quarters or whenever you do the legal and accounting work. 4 a boilerplate -- what do you call it -- operating agreement
5 Did we have an attorney on staff day to day before 5 or subscription agreement, and that's when Alan Young -- he
6 Rollin or in between when Rollin set it up, I don't recall. 6 introduced me to him. That's when he came into invest. So
7 don't think there was much legal work with the company. 7 that was the lawyer that worked on setting up -- maybe
8 Q. I'd be shocked if you had one on staff, but did 8 that's when we changed. I really frankly don’t remember
9 you have an attorney that did any work for Kids Count from 9 from one to the next.
10 1993 -- 10 Q. So Wes Neisen was brought in specifically to draft
11 A. Well, can I ask you a question? 11 up an agreement for Alan Young?
12 Q. Well, let me finish my question. Then I'll let 12 A. Wes Neisen was somebody -- it wasn't that he was
13 you ask me a question. From ‘93 through '99, was there any 13 brought in. I'ma creative person. I'm not a business CEO
14 lawyer that did any legal work for Kids Count? 14 person. I knew his wife a little bit through preschool.
15 A. There were several lawyers. 15 And my husband, because he was a stay-at-home dad, knew his],
16 Q. Okay. Tell me who they were. 16 wife too from preschool. And he heard about I think what we [|
17 A. To the best of my recollection, I -- I know that 17 were doing from his wife, and asked about it and said can I
18 -- could you help -- could somebody answer when was Kids 18 introduce you to some investors. So he wasn’t like
19 Count, Inc. and when was Kids Count, LLC? Because that'sa | 19 officially brought in. He was like met at a preschool
20 total blur to me. Rollin could answer that. But that could 20 morning class or something like that.
21 help because there was -- there was Kids Count, Inc., which 21 Q. Were you looking for investors at the time?
22 was Bob Leeper who was an investor in or who loaned money | 22 A. I-- for -- I'm sure that I was because we needed
23 and became an investor in. 23 money to run the business and to build a business. I
24 Q. So it started out Kids -- my understanding is it 24 couldn't be the only employee in a business.
25 started out Kids Count, Inc. 25 Q. Now let me ask you, when you first started Kids

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Count Entertainment, Inc., you said you'd been working in
evenings for some years prior to actually forming the
company. When you formed the company did you have any
product?

A. Well, it's not correct what you said. We actually
formed the company because we had that Enivar Roads and then
it went to Kids Count.

Q. Okay.

A. So it was formed, but it was really
developmental. I was learning how to produce software. I
didn’t produce it. I came up with the ideas and we had
people program it and draw it. I'm not a programmer.

Q. Okay. Was any of that product created before you
did the name change to Kids Count Entertainment, Inc.?

A. Ithink so. I think I had a software game that
was -- again, I'm fuzzy with Inc. and LLC or LLC and Inc.

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A. I didn’t understand much of anything because I was
a harried mom of three working 18 to 20 hours a day. Ijust |
knew I had to get another attorney. .

Q. Did you understand why?

A. He told me I needed to get another attorney.

Q. Did you understand why he was telling you that?

A. He told me I needed to get another attorney. As a
layman who's never been to one day of law school I
understood I needed to get another attorney.

Q. Is it your testimony that you didn’t understand
why you needed to get another attorney?

A. He said he represented Alan Young and I needed to
get another attorney.

Q. Did you know what that meant?

A. ThatI--I'm nota moron. That I needed to get
another attorney.

17. Q. And what was the name of that game, if it had a 17 Q.. No, I understand --
18 name? 18 <A. I don't know where --
19 A. Jack's House. It had a name. 19 Q. -- you knew what that meant.
20 = Q. It was Jack's House. 20 A. -- you're going. I'm just trying --
21 A. Mm-hmm. 21 Q. Allright. I think you do know where I'm going.
22.3 Q. Okay. 22 And here's where I'm going. :
23. +A. IknowI made that and we had a diskette version 23. A. Why don’t you tell me where you think I know whe:
24 in December of '95. I remember that. 24 you're going. EF
25  Q. Okay. Other than Wes Neisen, did anyone else do 25 Q. When he said, "I represent Alan Young" --
Page 23 Page 25
1 legal work for Kids Count Entertainment, Inc.? A. Mm-hmm.
2 A. I'm sure there were other attorneys that did legal Q. -- "You need to get another attorney," did you
3 work for Kids Count Entertainment, Inc. One that I recall understand why his representing Alan Young meant that you
4 when -- when Wes Neisen -- part of the deal was we -- I needed to get another attorney?
5 needed somebody to run the company. I -- I needed help. A. In absolutely what he said, yes, that he :
6 I'mnot a CEO person. represented Alan Young and I needed to get another attorney.
7 And when he brought in the investor, the deal was Q. But did you understand the significance of his
8 they would bring somebody in to run the company, which I representing Alan Young and why that meant you had to get |

9 desperately wanted. They decided not to bring anybody in to

another attorney?

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10 run the company and I was running myself into the ground. A. When we were separating with Alan Young?

11 It did not work out after I don't know how many months, and Q. Correct.

12 everybody agreed we should part ways. A. Yes.

13 So Wes Neisen could not represent us because he Q. As I understand it that's when this happened,

14 was the client of Alan Young and he was conflicted out. So right?

15 we had to bring in another attorney to represent us to A. Yes. Because he said I needed to get another

16 separate the deal. And that guy's name was Jonathon attorney. He was representing him and he couldn't represent
17 Rothchild or John Rothchild or Rothschilds, something. both of us.

18 Q. How did you find out that there was a problem in Q. Do you understand why he couldn't represent both
19 that Mr. Neisen represented Alan Young and therefore he of you? L
20 couldn't represent you -- 20 A. Asa layman, I could understand why he couldn't
21 A. He told us. 21 represent both of us because he said I needed to get another |
22 = Q. --in the breakup? 22 attorney.
23. =A. Ortold me. 23 =Q. Well, did you understand -- |
24 Q. Okay. What -- what did you understand that that 24 A. I'm sorry this is so comical to everybody laughing /
25 meant? 25 on the other side.

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1 Q. You used the word conflict -- 1 that document?
2 <A. Mm-hmm. 2 A. Yes, he was part of -- for us to go with Alan
3 Q. -- a minute ago. 3 Young, he wanted us to use his attorney. So I believe --
4 A. Mm-hmm. 4 I'm not 100 percent sure -- but I believe that's when we
5 Q. Did you understand that if he was Alan Young's 5 switched from Rollin Soskin to Wes Neisen. I think.
6 attorney and Alan Young was parting ways with you and your, 6 Q. Now so I understand your testimony, you said was
7 company that that created a conflict? He couldn't advise 7 it Alan Young that wanted you to use his attorney?
8 you what to do -- 8 A. Yes.
9 A. Icould understand -- 9 Q. Did --
10 Q. -- while advising Alan Young what to -- 10 A. Ibelieve so.
11 =A. Yes. 11 Q. Did Wes Neiseén then do any other legal work for
12. Q. --do? 12 Kids Count after he drafted the agreement and brought Ala
13. A. Mm-hmm. 13 Young in?
14 RECORDER: I need you to talk one at a time if you 14. —A._- I would think so, but I don't recall what legal
15 can. 15 work was done.
16 THE WITNESS: Sorry. 16 Q. You just don’t recall the specifics?
17 RECORDER: Thank you. 17. _—~A. ‘Thad nothing to do with that. I made the
18 A. It's very distracting with the smiling and the 18 products.
19 laughing. Is there anything you can put up or something? 19 Q. Weill, who did have something to do with that?
20 Q. NowI haven't heard any laughing. I'm not looking 20 A. At that time, probably nobody. That was the
21 over to my right, so I don't know if anybody's smiling. 21 problem. We were going to bring somebody in to mn the
22. ~<A. Can we switch places? 22 business. I'm -- ] am what I am. I wish I was a CEO kind
23 Q. No, I'm sorry, we can't. 23 of person. I'm not. And that was part of the deal to bring
24 A. Okay. 24 someone in, and we never did.
25 Q. Allright. So you understood that Wes Neisen 25 Q. Okay. But whatever legal work or legal questions
Page 27 Page 29
1 could not. 1 that came up, Wes Neisen handled those for Kids Count at
2 A. Excuse me. Can we be excused? 2 least up until the point where you and Alan Young --
3 MS. KROL: Do you need a break? 3 A. Yes.
4 THE WITNESS: I need a break because I need to up 4 Q. -- hada falling out? That's a yes. What caused
5 -- something up there. It's just very distracting. 5 Alan Young to part ways with you and your company?
6 RECORDER: Go off the record? 6 A. We needed somebody to run the company, and I -- I
7 THE WITNESS: I'm sorry. Can we take a break? 7 could not run it myself. I was making products.
8 MR. CROOKS: Yeah, you can take a break if you'd 8 Q. You mean the day to day business kind of stuff?
9 like to take a break. 9 A. Yes, everything outside of running products.
10 RECORDER: Off the record. 10 That's not my thing. I don't know how to do that. It was
11 (Off the record) 11 not a one man show. So I was focused on making the
12 RECORDER: We're back on the record. 12 products. And I believe that Alan's -- it was -- we have
13 MS. KROL: If there's any commentary, I would ask 13 just different philosophy on business and how you speak to
14 that you not make any verbal noises or any faces that might 14 people, and it was very stressful.
15 somehow distract or disrupt Ms. Esralew. 15 Q. Was Al -- did Alan Young come in and try to be
16 MR. CROOKS: Could you read back the last 16 that person to run the company?
17 question? 17. A. Idon't believe so.
18 RECORDER: Sure. One moment please. 18 Q. Was your agreement with Alan Young, was part of
19 (Record replayed aloud) 19 that agreement that someone was going to be brought in
20 RECORDER: Thank you. We're back on the record. 20 through Alan Young to run the company?
21 Q. Ms. Esralew, just so it’s clear to me. Wes 21 A. I don't know if it was part of an agreement. It
22 Neisen, you said he drafted some document when he brought in) 22 was a verbal thing that everybody said, if we want to grow
23 Alan Young to be an investor in your company, correct? 23 the business, we should have somebody run the company. I'
24 A. Yes. 24 amom who had a dream, not a major in finance or marketing |
25 Q. Was he representing Kids Count when he drafted 25 or accounting or an attorney. So I don't think it was

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1 written in any agreement. I think it was just clear we 1 was completed.
2 needed somebody to run the company. I'm not one to do that.| 2 Q. Was it out on the market?
3 Q. Did Alan Young do anything with regard to running 3 A. Actually, you know, I don't know if it was
4 the company or did he just provide some money? 4 completed to tell you the truth. I know -- I could tell you
5 A. He was -- he put together a group of people, and 5 the other products if you want because that was completed.
6 the managing person of the group. So he would be the one 6 Q. What products did you have at the time?
7 calling to say what's new, what's going on. And then I 7 A. That was I believe -- I'm not sure -- I believe it
8 would assume he would report to his group. He didn’t have 8 was before Alan Young came in that I made the other things,
9 an office there. He would come in and visit when he was 9 the other products.
10 around the neighborhood. 10 Q. What were those?
11 Q. Did Kids Count have an office at that point? 11 A. Jack's House diskette version, Jack's House CD-Rom |
12 A. Yes. 12 version, a exercise video and a music CD. That I believe
13 Q. Where were you located? 13 was all before Alan Young came in.
14 =A. On Dundee Road in Northbrook. 14 Q. And then after he came in you were working on
15 Q. And who were these people in Alan Young's group? 15 Jack's Attic?
16 <A. They were investors that were friends of his that 16 A. Yes, there was about two years. So it was a -- it
17 he brought in. 17 was a big project. So we were probably working on it
18 Q. So he actually brought in a group of investors 18 before. And you know what, I don't know if it was complete
19 that put money into the company -- 19 when I -- maybe there's things I could look through to find
20 A. Mm-hmm. 20 out. I don't recall.
21 Q. -- correct? Is that right? 21 Q. Now you testified earlier that you broke up the
22 <A. Yes. I'm sorry. 22 relationship with Alan Young or it was broken up because he /
23 Q. How much money total was put in by Alan Young's 23 had different management style, talked to people :
24 group? 24 differently, things like that?
25 A. To the best of my recollection, like a million 25 A. Yes.
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1 dollars, a million one hundred thousand or fifty thousand. 1 Q. Anything else that caused the -- the break up with
2 Q. And as best you recall, when was that done? 2 Alan Young's group and Kids Count?
3 A. In'95 or '96. It's probably been written up 3 A. It just didn’t work. It was very stressful.
4 somewhere. I really don’t recall exactly when. 4 Q. What was it about Alan Young or his group that
5 Q. Is it likely that that's when Kids Count, Inc. 5 made it stressful?
6 became Kids Count, LLC? 6 A. I'mnotaCEO. I'ma mom with a dream. The deal
7 A. When Wes Neisen introduced me to Alan and they -- 7 was they would bring somebody in to run the company. It wa:
8 he -- Wes Neisen wrote up the documents, I believe that's 8 as if] was a dog that had a lot of resilience until I had
9 when it was changed. I'm not 100 percent sure. 9 nothing left. I think they called me a racehorse, that they
10 Q. Okay. And how long did Alan Young and his group 10 wanted to come in first and they'd keep beating me every
11 continue to work as investors and cooperatively with Kids 11 step of the way to get there. And it was just -- it was
12 Count? 12 just sad. It was sad that I kept putting up with the
13 A. I'm not exactly sure. I would say maybe a year, 13. workload and sad that I didn’t put my foot down about
14 maybe a little less, maybe a little more. I don't exactly 14 bringing somebody in.
15 recall. 15 Q. Well, who was preventing you from bringing someone :
16 Q. Were any new products developed during that year? 16 in? :
17. A. We worked on a software game called Jack's Attic. 17. +A. The way the deal was written, which I was actually
18 That was a monster. It was a big game. 18 very much for, we were -- I would run things by. So I -- I
19 Q. Is this a -- a computer game? 19 don't know people to bring in. I actually was hoping they
20 <A. Yes. And actually, you know what, I don't know, 20 would introduce me to somebody or help interview somebody
21 I'm guessing that's around when Alan Young came in because | 21 and we didn’t.
22 that game was like two years to make. It was a big game. 22  Q. Because you had -- you had over a million
23 Q. At the end of approximately one year when your 23 dollars. So you had money to hire somebody to run the
24 relationship with Alan Young ended, was that game completed? 24 company --
25 A. Jack's House, Jack's Attic, yes, it was -- that 25 A. We had --

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Q. -- correct?

A. Yes. But I remember him saying that I could do
it, I could do it, I could do it. And we had a staff of
people making software, a small staff, but that's what was
just doing, making software. And I was trying to do a lot,
wear a lot of hats there. And I'm good at some hats and I
have no skills in other hats --

Were you --

-- period.

Were you drawing a salary during the period --
Yes.

-- that -- and how much was your salary?

At that time I remember that clearly because I was
thrilled. I was making I'm pretty sure $170,000.

Q. Now was -- was your husband Bob helping in the
business at all at this point or was he just taking care of
the kids?

A. He was a stay-at-home dad that would help when I
couldn't lift my head in the morning or at nights when I
would come home crying my eyes out frankly. So he'd help a
Ineeded him. But he was with three babies. We had three
kids that were very young at the time.

Q. So just odds and ends here and there that he would
do when asked essentially? Is that a yes?

A. Yes. Sorry.

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A. Iremember that whatever was left in the bank I

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gave them.

Q. Do you have any idea what that amount was?

A. No. I'm sure that it's written in paperwork or
something, but I don't recall. It was a long and very
painful time ago.

Q. And you were represented by Jonathon Rothchild at
the --

A. Yes.

Q. -- termination?

A. I didn’t know him. His aunt liked my products and
sent me a letter and donated -- I guess I gave her like two
products to give to a church preschool in Wisconsin. And
she would just write me notes and -- I think this is frankly
in the beginning of email -- send me an email and just say

how she loved the products. And I didn’t know who to reach |.

out to. And I asked her if she knew an attorney, and she

introduced me to her nephew. So I had no knowledge of him |

before, I had no knowledge of him afterward.

Q. Was he an attorney in the Chicago area?

A. Yes.

Q. Why did you not go back to Rollin Soskin when Wes
Neisen said he couldn't represent you at the split?

A. Idon't know actually. I really don’t know. We
probably should have, but I don't know. I don't know if --

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Q. Was he paid any salary by Kids Count, LLC?

A. I don't believe he ever was.

Q. Whose idea was it to -- to end the relationship
with Alan Young's group?

A. It was mutual.

Q. And why did Alan Young want to end the
relationship?

A. Because it wasn't working out. We needed somebody
to run the business.

Q. And he wasn't willing --

A. And I was --

Q. -- to help you out, supply somebody to do that?

A. They just kept thinking I could do it, and it just
got -- that was -- it was just hard. Rollin knows Alan
Young well, and he was very sympathetic about, you know,
he's a tough cookie, And I wasn't -- I didn’t have the -- I
think they thought I was more than I was. I -- you know, I
-- you know, when people tell you stuff you should believe
them, and I kept saying I could make products, that's what I
know how to do. I don't know how to do the other things.
And everybody thought I could, and I couldn't.

Q. And what were the terms on your split with Alan
Young?

A. Oh, I don't recall.

Q. Do you recall anything about the terms?

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I know there was some conflict with Alan Young's partner and
Rollin or something. I don't know. I don't know why we
didn’t because I thought we kept in touch with Rollin. I
don't recall, Rollin may, if he was still doing our
accounting. I really don’t remember.

Q. Was Art Evans involved in any of your business
dealings at this point?

A. I believe the Art Evans was Alan Young's attorney,
and I believe Art Evans was Rollin's law partner or -- yeah.

Q. Did Jonathon Rothchild work for a firm?

A. I don't recall.

Q. After you split with Alan Young's group, what did
you have left as far as a business entity?

A. I don't understand your question.

Q. Did you still -- did you still own Kids Count,
LLC?

A. Yes.

Q. The products that you've talked about that the LLC
had, did the LLC still own those products?

A. Yes.

Q. Other than giving Alan Young's group whatever
money you had in the bank, did they get anything else?

A. There was a note. I don't recall how much the
note was for. And I don't recall if there was anything
else. I'm sure it's written up in some document somewhere.

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Q. The note was money that the LLC would owe Alan
Young?

A. Yes, I recall that.

Q. What's your best estimate as to the amount of that
note?

A. 50,000 or 75,000.

Q. And how was that to be paid?

A. Ihave no clue. I basically -- whatever they said

they wanted, I said you got it. I just wanted to sleep at
night frankly.

Q. Well, how was that going to help you sleep at
night?

A. Because it was a very stressful situation
working. I couldn't work any harder and I couldn't work any
smarter, and it wasn't working right because I needed
somebody to run the business, and it wasn’t me.

Q. But ending your relationship with Alan Young
wasn't going to give you somebody to run the business, was
it?

A. It was going to provide me with an opportunity of
not getting sworn at and screamed at every single day
numerous times a day.

Q. And who was doing that?

A. Alan Young. It just got sad and hard at the end.

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yelling and screaming at you, is that fair?

A. Let me rephrase that. I'm sure he was very upset
that the business didn’t go anywhere. And I was upset
because I had nothing left to give. And to one person, I
interpreted it as yelling and screaming. He just could have
been talking in his way. You have to kind of know him.
He's not a bad person. He's just like a dramatic kind of
person.

Q. Okay. Whether he was actually yelling and
screaming or you just perceived it as yelling and screaming,
and whether it happened every day or less frequently, what
was he yelling and screaming about?

A. That it just didn’t work. We should have -- I'm
sure -- I assume he thought we should have gotten somebody |
to run it and that. I'm assuming that they should have
listened when I said I needed someone to run it because lam |,
what Iam. And I don't think anybody likes bringing inhis |
buddies and it not going well. And there was only so much
milk you could milk from me. I mean I just -- I didn’t
have, you know --

Q. Allright. What did you --

A. I guess I didn’t have the stuff they thought I
had.

Q. What did you do with the LLC going forward then
after your relationship was done with Alan Young?

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He's just a -- he's an emotional person and --
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Q. Was he doing that face to face or over the

telephone?

A. Both, when he'd stop by the office. It was just
-- it was a hard situation. I'm sure he wasn't happy
about. And I'm sure everybody thought I was more than I
was. And I-- I am what -- I mean I'm a mom with a dream
that just was a little nuts and wanted to do something, and
believed in doing it, and believed that we get the right
support behind us.

Q. When he was yelling and screaming at you every day

A. Well, maybe I shouldn’t say every day. Whenever
it was. I don't recall. It was a long time ago. But when
you said how did that help alleviate it? I don't like
getting yelled and screamed at.

Q. Right.

A. It was not healthy.

Q. That I understand. But when he was yelling and
screaming at you -- before you said every day, now --

A. Mm-hmm.

Q. -- is it not every day he was doing that?

A. I don't recall. I guess I would say it's not
every day, but it was stressful and it was whenever -- it
was the opportunity.

Q. It was at least several times a week he was

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A. What did I do with the LL -- meaning the company?

Q. Yeah.

A. I -- ended up meeting Michael Resnick because
somebody introduced me to him.

Q. Okay. Who introduced you to Michael Resnick?

A. Some neighbor in my old neighborhood. And if yo
gave me $100, I couldn't tell you the person's name. I have |
no clue. And it was somebody who just said I'd like you to
meet them, and I met Michael Resnick.

Q. Were you at the time looking for new investors for
the company?

A. It-- with the end of Alan Young, yes, because I
gave every dime I had I think. And -- yes.

Q. Okay. And how were you going about looking for
new investors?

A. I don't recall because I don't know people with
money. It would usually be through an attorney or -- well,
that was the case with Wes Neisen. Or somebody would
introduce me to somebody.

Q. Was Jonathon Rothchild still doing legal work for
the LLC?

A. [have no recollection.

Q. Was he your attorney so to speak?

A. I don't think he did anything other than helping
separate the case as I recall it.

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1 Q. Okay. 1 it's the same people. So whatever was listed in there.
2 A. I don't think anything other than that. 2  Q. Alan Young is Feels Good, Inc.?
3 Q. What happened with regard to Michael Resnick, did 3 A. Yes. .
4 you reach some kind of an agreement with him? 4  Q. The -- the $25,000 or maybe two payments of
5 A. He wanted to come in and help, very nice person. 5 $25,000, was that at the end when you were terminating your
6 And they put money into the business. I don't think it was 6 relationship or was that ongoing while the relationship was
7 aninvestment. I think it -- 7 -- was still, you know, active?
8 Q. You said they? 8 A. No. When the relationship was active we gave
9 A. Michael Resnick. I'm calling it they. Michael 9 every money -- dime we had to pay them and have a separation
10 Resnick's company. 10 deal. There was a -- we owed them money. I don't know if
11 Q. What was his company's name? 11 it was 50,000 or 75,000. That was like some type of note.
12 A. I think it's Harris Associates. It's in the -- 12 And J remember we made one payment of 25,000. We might have
13 all the paperwork. 13 made two payments. I don't recall. But it was --
14 Q. And now you say you don’t know whether he invested| 14 Q. Were those payments on the note?
15 in the company or -- 15 A. Those payments -- I -- I don't -- I'm sorry. I
16 A. I don't know if it was a -- I think he loaned the 16 think I'm being clear. We had -- every dime we had we
17 company money and it was like a convertible loan with the 17 gave. Then we had some type of note or some type of note
18 intention we were going to try to find somebody to raise 18 that we owed them money. It was either for $50,000 or
19 money because I'm not a money raiser. 19 75,000. I do recall making one payment, possibly made two
20 Q. Do you remember how much money he loaned or 20 payments. I don't remember.
21 invested in the company? 21 Q. So--
22 A. Ibelieve it was $300,000. 22. +A. And it would have been after the relationship. I
23. Q. And that was from Harris Associates, his company? 23 don't know if it was six months after --
24 A. Yes. 24 Q. Okay.
25 Q. Right? Did he take on any management -- 25 A. -orayear after. But I'm sure there's --
Page 43 Page 45
1 A. No. 1 Q. All right.
2 Q._ -- responsibilities? 2 A. -- paperwork that says what it was --
3 A. Hm-mm. 3 Q. Ijust want to be --
4 Q. Did you discuss with him the need for someone to 4 A. -- supposed to be.
5 take on management responsibilities? 5 Q. -- sure that all those payments are either at the
6 A. Yes. 6 time the relationship ended or afterwards, and I think
7 Q. And what was the plan in that regard? 7 you've told me that that's correct. They were either at the
8 A. Ireally don’t even remember. I was trying to 8 time you --
9 raise money and then hire somebody. There was no plan. 9 A. It would have been after the relationship ended,
10 Q. By the way, Alan Young's group, did they ever get 10 and then I do remember though when we did the memorandum :
11 any dividends or any money paid back as part of their 11 Gene and Rollin went through everything, who we owed. And L
12 investment, other than whatever money came at the end of the) 12 we listed -- and I remember it saying Feels Good, Inc. I |
13 deal? 13 don't remember if it said 50,000 or 25,000 dollars. But it
14 A. I don't know what you mean by dividends. Could 14 would be in that memorandum.
15 you rephrase that please? 15 Q. Now Michael Resnick then was -- brought in
16 Q. Did money in any way, shape or form get paid back 16 $300,000, correct?
17 to Alan Young's group, other than whatever was paid at the 17) =A. Mm-hmm.
18 time you parted ways with them? 18 Q. Was there a written agreement with Michael
19 A. We gave them like every dime we had and then I 19 Resnick?
20 believe -- I'm sure it's written somewhere because I wasn't 20 <A. Yes. And actually I just remembered the name of
21 -- I believe we paid them a check once for 25,000. We might | 21 his business is Harris Associates, but I think they set it
22 have paid them a check twice. It was like the end of the 22 up as Hudsucker.
23 year. But when we did the memorandum with Rollin and the | 23 Q. Okay.
24 Terrys, it spelled out who we owed money to, andI remember) 24 A. Because it's the same -- same thing.
25 seeing Feels Good, Inc. Feels Good, Inc. is Alan Young; 25 Q. Now was there a written agreement between you or

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1 between Kids Count and Michael Resnick or Hudsucker or 1 A. For Kids Count?
2 Harris & Associates? 2 Q. Yeah.
3 A. Ibelieve there was an agreement between Hudsucker 3 A. I don't recall.
4 and not me, but the business, the Kids Count. 4 Q. Who's Craig Carter? .
5 QQ. And what was Michael Resnick to do and what were 5 A. Craig Carter was -- somebody introduced me to
6 you to do under this agreement? 6 him. I don't even remember who did. And I -- to the best
7 A. Ihave no clue what he was to do under the 7 of my recollection, I thought he was coming in to do '
8 agreement, and I don't know what I was to do under the 8 marketing. I don't know if he -- I don't think he had the |,
9 agreement. But I was going to do was try toraise money and} 9 title of a president. I don't know. I could probably look
10 some -- find someone to run the business and grow a 10 through old paperwork, I don't recall.
11 business. 11 Q. Did he become an employee of Kids Count?
12. Q. Well, you're going to try to raise money. What 12 A. Yes.
13 was Michael Resnick going to do? 13 Q. As best you recall, when?
14 + A. He wasn't doing anything other than he put money 14 A. No clue when.
15 into the business as some type of loan. I don't -- I‘m 15 Q. Was it before --
16 assuming it was a convertible loan. 16 =6A. _I'd-- I'd say it's between 1996 and 1998.
17 Q. Okay. 17 Q. And how long did he have a position with Kids
18 A. Because I remember something with six percent. I 18 Count?
19 don't know if it was six percent interest or if it was a six 19 <A. Ashort period of time.
20 million valuation. I just remember a six. 20 QQ. Is that a week or a month or a year?
21 Q. Convertible -- a loan convertible to an ownership 21 A. I'd say it was less than six months or around six
22 interest in your company? 22 months.
23. ~A. I'massuming, mm-hmm. 23. Q. And--
24 Q. Are you assuming or is that your best 24 A. I don't recall. E
25 recollection? 25 Q. -- did he receive a salary?
Page 47 Page 49
1 A. I'm -- I'd have to look at the paperwork. I 1 A. Yes.
2 remember it was some type of loan that I'm assuming wasa|} 2 Q. And what did he do for Kids Count?
3 convertible into the business. I don't know if -- who 3 A. The intention was he was going to go raise money,
4 decides, how they decide. I just remember there being a six} 4 be like the person to go out there and raise money. He L
5 in something. 5 didn’t. It wasn't a fit.
6 Q. Now the $300,000 that was put into your business, 6 Q. Was anybody running the business at that point? L
7 what was that money used for? 7 A. No. It was me, but I'm not one to run the
8 A. I would assume it was used to keep -- we had some 8 business. I was wanting to find somebody desperately to run
9 employees to finish the game. I don't know if they were 9 the business, desperately.
10 finishing Jack's Attic. There was another game we were 10 QQ. Why not Craig Carter?
11 working on called Spuzzled. I don't know if it was 11 A. When we interviewed Craig Carter, andI don'tknow |
12 finishing one or finishing the next one. 12 -- I don't -- I don't recall if Rollin interviewed him as
13. Q. _Did you -- 13 weil, I don't think so -- but we had asked -- I was very -- :
14 A. And it would have been for operating money. 14 I don't have the skill set to know how to interview somebody
15 Q. What were your expenses -- your operating 15 to run the business. I feel like I have a good sense of
16 expenses? 16 judgment if someone's working with me and making products. |,
17. _—A. +I don't recall what my operating expenses were in 17 So I remember us asking other people to help us. And I do
18 1990 whatever it was, five or six or seven. 18 remember Michael Resnick had interviewed Craig Carter.
19 Q. Were you drawing a salary at that time? 19 Q. Why did you hire someone to raise money for the
20 A. I don't recall if I was then. I was drawing one 20 company before hiring someone to run the business since
21 with Alan Young. I don't recall if 1 was drawing -- there 21 that's the need you said you'd had all these years?
22 were many months that I didn’t take anything. I don't 22 <A. Because -- wait -- say that again.
23 recall when. 23 Q. You testified about what you always needed was
24 Q. Did you eventually hire a president for your 24 someone to run the company and do the business. Why did y:
25 company? 25 hire Craig Carter as someone to raise money before --

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A. How was I going to --

Q. -- you hired somebody to -- to run the business?

A. I needed to have money to pay someone to run the
business.

Q. Well, you had $300,000 from Mr. Resnick.

A. I don't remember how much we had in there when
Craig Carter came in.

Q. But when the $300,000 came in from Mr. Resnick's
group you had $300,000. Why was that money not used to hire
the person to fulfill the need you testified was your
greatest need, someone to run the business?

A. That's what I was looking to do. I don't recall
-- and it looks like Rollin recalls -- what Craig Carter's
title was. So if you could maybe stop this and ask him
because this was a long time ago and I don't recall. I know
he was a marketing person. And I -- I -- I don't know if it
was the intention to have him run the business. I don't
recall.

Q. Was any of the --

A. But I know that I was interested in him running --
you know, raising money and then -- you know, I don't know
if it was that everybody said let's test it and see how it
works.

The biggest concern, he was from a corporation and
we were a tiny little you've got to wear 15 hats at any

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Resnick and turn them over to your lawyer. And Gina, I
would like those documents produced.

A. Yeah, I recall there being one piece of paper. We
can look to see. I --

Q. And what was that piece of paperwork?

A. I believe it was a piece of paper that was some :
type of convertible note. And I remember seeing the number |,
six in there. I don't know if it was six percent interest /
or if it was a six million valuation. And it might not even

be six, I just -- so it might -- I don't know.
Q. Was any of Mr. Resnick's $300,000 used to pay off
Alan Young's group? .
A. Idon't know.
Q. It's possible?
A. Idon't know.
Q. So you're not denying it, it is possible. Is that
-- is that fair to say?
A. No, it's not fair to say because I don't know.
You're making an assumption that I'm saying it was, and I

don't know.
Q. No, I'm not assuming you're saying it was.
MS. KROL: She -- she's answered that she doesn't
know.
Q. Allright. You don’t know one way or another
whether any of the money that Michael Resnick brought in,

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given time type of business.

Q. You've said several times that there's paperwork
regarding Mr. Resnick, and -- and I've looked at the
documents you've produced in this case and there wasn't any
paperwork regarding Mr. Resnick. Do you have documents
regarding your relationship with Mr. Resnick?

A. Iremember there being a piece of paper that
Rollin and Michael Resnick and I went through in Rollin's
office because they had -- we had a meeting there because
Rollin thought he was in front of Michael and Michael said
he was in front of Rollin. I don't recall. But I would
assume that there's -- I mean it just -- it wasn't -- wasn't
my thing. I don't know.

Q. When was that meeting?

A. Thave no clue.

Q. Do you know --

A. It was after Rollin came in with Gene and we had a
meeting at the cafeteria or an office next to --

Q. Allright.

A. -- Rollin's office.

Q. But my question really was you've made many
references to this it's in the paperwork whatever the
numbers are with Mr. Resnick, and I've received no documents
regarding Mr. Resnick. So why don’t I just leave it this
way, I would like you to look for all your records on Mr.

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the $300,000, went to pay Alan Young's group. Is that fair?
A. Yes, you're correct, I don't know. I don't
recall.
Q. Okay. How long -- how -- did your -- your
relationship with Michael Resnick end at some point?
No, I still talk to him.
Has he been repaid any of the $300,000?
No, hm-mm.
Was that discharged in your bankruptcy?
Yes.
MS. KROL: Well, now I -- that calls for a legal
conclusion. I'm not sure she even --
A. Well, yeah. I'm saying yes. I don't know. I
guess we wrote everything down.
Q. What was the next partner, investor or person that
loaned money to you or your business after Mr. Resnick?
A. To the best of my recollection I think that was
about the time that we had a meeting with Rollin, and he
knew all about -- we told him all about the Alan Young. And
he had some -- there was some big run-in. I don't remember /
if it was drug-related. There was some -- something weird, |.
I don't know what. And it was he knew about Alan, andI |.
remember him saying -- it was nothing with drugs with Alan
It was something -- I don't know. It was something with
Alan's attorney or Rollin, and he just -- I remember him

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1 feeling very bad and said that he wanted to introduce me to 1 because they went through everything before they came in.
2 some nice people. And I needed nice people. And I think he 2 We-- you know, that's when it was fresh. It wasn't six
3 meant specifically Gene Terry. 3 years later. So we went through everybody who had any
4 Q. What about Steve Santowski? 4 involvement or who had put money in the business and it was|
5 A. Oh, yes. Steve Santowski's a neighbor of mine. 5 listed.
6 Q. And what involvement has he had in Kids Count? 6 Q. When you say -- you say memorandum, are you
7 A. He had no involvement. He was a neighbor of mine, 7 referring to the memorandum of agreement you entered into
8 is a neighbor of mine, and had offered to put in a lot of 8 with --
9 money. And -- 9 A. The one Rollin did.
10 QQ. When did this happen? 10 = Q. -- the Terrys and Soskin?
11 A. I don't recall, but it was after Alan Young and -- 11 A. Mm-hmm. Yeah.
12. Q. Was it before Michael Resnick? 12. Q. Okay. As you sit here today has Mr. Santowski
13. A. I don't recall. My guess, if I could guess, would 13 been repaid any of that money?
14 be after Michael Resnick, but I'm not sure. 14. A. No, hm-mm
15 Q. Allright. That's fair. 15 Q. Any other investors or partners in the business
16 A. Okay. 16 that you -- you had --
17 Q. And -- 17 A. In Kids Count?
18 A. But yes, he had offered to put in like a huge 18 Q. -- up until the time before -- before Mr. Terry
19 amount, like 500 to 700 thousand or something and didn’t. 19 and his wife and Mr. Soskin got involved in the business?
20 He -- he put in $75,000. I remember that. 20 A. Idon't recall. I know -- I'm thinking Jim
21 Q. Now -- 21 Terra. I don't know if it was before or after.
22 A. And then just never put in more and -- 22 Q. How do you spell that name?
23 Q. Was that an investment or a loan? 23 A. T-e-r-r-a.
24 A. Idon't recall. I know at some point Rollin met 24 Q. And what was he, an investor or did he loan money?
25 with him a couple times. I don't recall if it was an 25 A. No, he was a friend who I really wanted to do a
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1 investment or a loan. 1 deal with, but our attorney was playing hardball. I don't
2 Q. Did Rollin meet with him at the time he was 2 even remember who it was. I just remember him telling me I |,
3 considering putting money into the business? 3 need to have balls, and I'm like I just want to get this |
4 A. No, I think he met with him afterward, after he 4 funded and bring somebody in to run the business. And he
5 was already in. And the reason I'm thinking it's a loan, I 5 didn’t like how the -- you know, the interaction. But I
6 remember Rollin -- I don't know if there was paperwork or 6 couldn't even tell you who the attorney was. I know it
7 there wasn't paperwork and Rollin drew up paperwork. 7 wasn't Rollin.
8 Because he was -- I think Rollin when he came in was tidying| 8 Q. Was it one of the names you've already mentioned

9 everything up. I mean he was like dotting all the i's and 9 or it was another attorney?
10 crossing all the t's. And so -- and you know what, I don't 10 A. Idon't recall. And I recall it wasn't Jonathan
11 even know if they met in person or on the phone. I'm 11 Rothchild. 1 think Jonathon Rothchild only did the Alan
12 thinking they met in person that I went with to a meeting, 12 Young separation. So I don't recall. And I don't know if
13 but I really don’t recall. But that would be my guess. And 13. there was anybody else. I don't think so.
14 Ido remember Rollin drawing up paperwork after Rollin -- 14 Q. Wes Neisen?
15 after Gene came in. 15 A. Well, I mean about putting money in.
16 Q. Do you know was Mr. Santowski ever repaid if it 16 Q. No, I'm asking --
17 was a loan? 17. _—-A. -Butit would have been listed --
18 A. He was not repaid. We had him on the books. We 18 Q. -- as far as --
19 had anybody who put money in on whatever note or books or| 19 A. -- on that memorandum.
20 something. 20 Q. -- who the lawyer was.
21 I don't know if it was on the memorandum because I 21 A. Idon't recall. It wouldn't have been Wes Neisen
22 don't -- if it was beforehand it would have been listed on 22 though. Maybe it was Rollin, but I don't think it was
23 the memorandum. I probably should have looked at it, butI | 23 Rollin.
24 haven't looked at it in a long time. But I can picture 24 Q. Okay. And it wasn't Jonathon Rothchild. Was |
25 Feels Good, Inc. And Rollin and Gene would know if it said | 25 there a venture capital deal that you -- that you had in :

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A. It was an annual salary, one salary.

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1 order to try to raise funds before the Terrys and Mr. Soskin 1 Q. And after that, although there were months when
2 got involved? 2 you didn’t take anything --
3 A. There wasn't a -- well, I don't know if you'd call 3 A. Mm-hmm.
4 itadeal. Somebody introduced me to somebody named Bob --| 4 Q. -- your salary was still listed at 170?
5 Bob -- Bob -- what was his last name -- Bob Bernard, and 5 A. Don’t recall.
6 that could be what Rollin's writing you notes about. He 6 Q. But in any case when you were talking to Bob :
7 owned a big company called Whittman-Hart. 7 Bernard about putting millions of dollars into the company, |
8  Q. Whitiman -- 8 he suggested that you increase your salary above 170?
9 A. Hart. 9 A. Yes, I recall that.
10 Q. Hart? 10 Q. What was he to get in exchange for putting
11 A. I don't know if it's in business any longer; it 11 millions of dollars into the company?
12 might be. 12. A. A big chunk of the company.
13. Q. And how did you meet Mr. Bernard? 13. Q. How much?
14. A. Somebody, I can't even recall. Somebody 14 A. Don’t recall.
15 introduced me. I don't know if it was an associate or a 15 Q. Was it less than a majority of the stock?
16 friend from high school. I had bizarre -- I mean people 16 A. Yes.
17 would just like bump into me at the grocery store and 17. —_ Q..:~ So you still would have had ownership and control
18 introduce me to people. But somebody introduced me to him. | 18 of the company?
19 And he -- I know he had a company called marchFIRST too that 19 A. I don't know if it's control, but more ownership. /
20 Whittman-Hart I think turned into marchFIRST or marchFIRST| 20 I don't know. There was never any documents. I don't know
21 turned into Whittman-Hart or something. And I had I believe 21 that if it was documents had said I didn’t have control, I
22 two meetings with him, and he was a big -- excuse me -- kind 22 don't know. But I would have had more stock than he had
23 of mover and shaker kind of person. 23 that's what you're asking me.
24 Q. What was the purpose of the meetings? 24 Q. You would have had more than 50 percent of the
25 A. To invest money, to raise mon -- to put money in. 25 ownership?
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1 Q. To Kids Count? 1 A. I--
2 A. Mm-hmm. Yeah. A lot of money, mm-hmm. 2 Q. Is that right?
3 Q. Was there an amount you were seeking from him? 3 A. -- believe so, yes.
4 Was there an amount that he was proposing he put in? Tell 4 Q. Okay. Why did that deal never come through?
5 me what the discussions were between you and him. 5 A. The person who introduced me -- and I wish -- I
6 A. Well, I don't recall what the discussions were, 6 can't even believe I'm like totally drawing a blank. Who
7 they were a long time ago. But it was about him putting in 7 introduced me; I am just drawing a blank. But I remember
8 a significant amount of money, like -- like millions of 8 him turning it down, being at a meeting, this was a long
9 dollars. And I was very excited and very taken at the 9 time ago, and saying I was ready to like throw up, that he
10 prospect of, you know, having -- it was never said, but I 10 didn’t want him having so much control. I remember that.
11 guess I felt he could be a mentor, you know, help bring the 11 Q. He -- he --
12 right people in. He wanted to increase my salary, which I 12. A. So that's why I'm saying --
13 was thrilled, because he said, you know, you can't be 13 Q. You used he --
14 working like you're working and not making enough to -- you) 14 =A. -- I don't know if things were control.
15 know. 15 Q. -- and him in that sentence. Who are he and him?
16 Q. What was your salary at the time? 16 He --
17. ~A. Idon't recall. I know with Feels Good it was 170 17.__—‘ A. Bob Bernard and whoever introduced me to him. I'm
18 and there were many months I didn’t take any salary. And I 18 just drawing a total blank. If I remember or if I look at
19 don't remember what he wanted to increase it to, but I just 19 documents I can let you know later.
20 remember it being more than 170. 20  Q. So the person that introduced you to Bob Bemard
21 Q. All right. 21 didn’t want Bob Bernard to have so much control --
22 <A. Wenever did a deal with him though. 22 A. Yes,
23 Q. I want to make sure I understand this. You were 23 Q. -- inthe company? Well, why did you care what
24 getting 170 when you were with Feels Good. 24 this person thought? They had just introduced you to

somebody, they didn’t -- am I right?

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1 A. Yes. 1 the advice you were getting from Mr. Resnick and this other

2 Q. They didn’t own part of your company, did they? 2 person?

3 A. You are right. 3 A. Iremember being at a meeting with the person and

4 Q. They -- they weren’t your -- your lawyer or your 4 the person saying while I was there, she doesn't want to do

5 financial adviser, were they? 5 the deal, she wants you to be part of it, not the whole

6 A. They were advising me. This guy was advising me 6 thing.

7 andI-- 7 Q. Who was at that meeting?

8 Q. And this guy who -- who -- 8 A. Iremember it being Bob Bernard, myself and

9 A. -- for better or for worse, and it's been much for 9 somebody who I cannot even place. But it was not Peter
10 worse, I'm -- I'm not equipped to be doing the business kind} 10 Abruzzo. :
11 of things, and I was -- I would unfortunately lean on -- 11 Q. But it was the person that introduced you to Bob :
12 rely on people for advice. And -- 12 Bernard?
13 Q. Well, why didn’t you lean on Bob Bernard for 13 A. Yeah.
14 advice -- 14 Q. And--

15 A. Well-- 15. A. And I'm drawing a -- yeah.

16 Q. --in this case? 16 Q. And while you were present this person who you

17. =A. I don't know if you know him, but he's not the 17 don’t recall told Bob Bernard that she wasn't -- that you

18 kind of guy you lean on for advice. He's a big, busy guy, 18 weren’t comfortable doing the deal.

19 and I had I believe two meetings with him. And I -- you 19 A. ImeanI know what he looks like, if that helps.
20 know, I took it to heart. Maybe it would never have come ta 20 I can say for the record what he looks like, but I just am
21 fruition, and it ended up not coming to fruition. But he 21 totally drawing a blank with his name.
22 wanted to put a significant amount of money in. 22 3=Q. Allright.
23 I do remember him sending me an email. This was 23 A. I think he was a hedge fund guy who knew Bob and
24 in the pre-email days so I didn’t respond to it because I 24 somebody introduced me to -- I mean I would meet people.

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was not email savvy. I just thought, oh, he's emailing me.

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just don’t recall his name. I don't even --

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And I -- my guess -- my guess is because I didn’t respond it
was more of the chase. Maybe he thought I was, you know,
being hounded by a bunch of people to put money in. I have
no clue. I just kind of didn’t know better.

Q. What did his email say?

A. I think it was we had a nice meeting, and I'm
interested, and you know, something to that effect. I don't
recall exactly. It was probably eight or nine year ago.

Q. Was it Peter Abruzzo that introduced you to --

A. No, he didn’t.

Q. -- Bob Bernard?

A. No.

Q. DoT understand from what you're telling us that
you decided, based on this person who you don’t recall
saying they didn’t think that Bob Bernard should have so
much control in the company, that was the reason that you
backed away from this deal?

A. It was not that I decided. The person did that
who knew him. They had a history together. And I do
remember me telling Michael Resnick because I was thrilled.
And he was also saying, you know, you don’t know this person
and take it easy. I do remember that. So it must have been
all around the same time.

Q. Am I correct that the reason the deal did not go
forward is because you backed away from the deal because of

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Q. But going back to the question I asked, it was
this person whose name you can't recall and Bob Bernard and
yourself in a meeting. And this person told Bob Bernard
that you did not want to go forward with this deal?

A. Yes.

Q. And what did Bob Bernard say to that?

A. I don't recall.

Q. Did this happen -- and by this I mean you tuming
down this deal. Was this sometime in 1998?

A. [know it was right before I moved in my house
because I wanted to take the deal because I thought it
would afford me to move in my house. I really wanted the
deal for lots of reasons. So --

Q. Did you in fact buy the house because you saw
this deal coming and you knew that this meant an inflow of
cash?

m Well, I believed the deal would be coming. The guy --
I remember after we walked out of that meeting I was like
crying I was so upset. And he walked me over to LaSalle
Bank, and he had a relationship there because I didn’t have
bankers, and said that he wanted me to turn down this deal
but I wanted to buy this house because I -- we just -- we
needed to get out of our other house. There was just a lot
of environmental issues with the house.

Q. Why -- why were you crying when you came out of

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see the memorandum of agreement --
A. Mm-hmm.
Q. -- that was signed November 22nd, 1998, if that

helps orient you in time.

A. It would be before that agreement.

Q. Iassumed so. What is your recollection as to how
far before you signed an actual written agreement were thesd
conversations?

A. It seemed like it happened pretty quick. I just
remembered having four meetings, it could have been six
meetings, it could have been five meetings, I remember four
-- could be wrong -- that were long -- you know, long,
long, long four-hour meetings. I remember it being over a
week, maybe it was two weeks.

Q. Who attended these meetings?

A. To the best of my recollection, it was myself,

Gene, Nicole and Rollin. I don't know if my husband was
ever at one of the meetings. He could have been, I don't
remember. I don't think so because then we would have had
the kids because he was with -- we had three little ones at
the time. And I don't remember them being at a meeting.

Q. Did --

A. At that time.

Q. Was there any reason that you had an immediate
need for money for the business at that point during these

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Q. Were you successful at Sears?

A. Imade the products very quickly, they were good
quickly. We didn’t get into -- the buyer said don’t come in
after Easter and we came in after Easter. We had somebody
doing the packaging and it took a lot longer than they said
it would. So we kind of missed the Christmas window and we
went in after Easter. So the products sold through, as I
understand, and I thought it was successful just being in
Sears. But it was not like ] had a follow in product. To
be successful you really need to have an ad campaign, you
have to have all the different functions of the business.
Advertising, marketing, P.R., they're timed together, you go
in stores.

Q. Okay. I got into that because you said you had
tested --

m_ Icalled it test. That was I even think with Rollin,

Gene and Nicole, we were looking at -- we had this trying in
Sears, we had a -- you know, the trying it and testing it in
Zany Brainy, which is a small retailer. The only thing that
we hadn’t done, which everybody felt, everybody is a loose
term, people we were talking to, that we should do is test /
direct response. And what we kept hearing from people is if
I could be doing a commercial at the retailer, that would |
really help. But I can't be at retailers standing there and
talking, that's not -- doesn't happen. So we were extremely

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19 just there until the displayers broke and that was it. I

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discussions?

A. We-- yes. The only -- what we wanted to do -- my
whole concept was testing out the model and -- meaning the
viability of the business. And we had success with Sears
years before. And when Alan Young came in it was kind of
like everything just shut down. It was just -- it was just
-- it was just -- it was like everything -- everything was
really kind of managing a lot of stress --

Q. You were --

A. -- and working on the software game, that big
software game.

Q. You had product in Sears at one point --

A. Yes.

Q. -- sometime earlier. Why did that end?

A. Well, when you bring product in it kind of cycles
in and cycles out. It just goes in and goes out. So we had
a displayer -- display thing box. And they said it would be
in there for four weeks. It was there for months and it was

didn’t have -- I was in Sears, which is not a video store.

So it's not like I was in a video rack at a store, if that

makes sense. You know when you go into Wal-Mart and you see
a video section? The video section is not a corrugated

displayer typically unless it's a in and out display. I was

an in and out display.

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excited to do this direct response commercial.

Q. What's a direct response commercial?

A. It's a commercial that's aired on television
that's called direct response. It could be a 30-second
commercial, it can be an hour infomercial.

Q. Is this -- is this where you're asking people to
buy it directly from you, whatever product you --

A. Yeah, you're doing a commercial and you're having
a 1-800 number up at the bottom. And we felt that that
would be -- when you don’t have money to go into retail,
because most retailers will charge you shelfing fees, we
thought that would be a very good way and were very excited
about it.
Were you charged shelfing fees at Zany Brainy?
No.
Did you have also your product at Noodle Cadoodle?
For a short time because --
When was --
-- they didn’t --
-- that?
. -- pay their bills. No clue. '90 -- I don't --
6, '96 probably.

Q. Did you -- were you successful in selling product
through Zany Brainy and Noodle Cadoodle?

A. We were successful in selling it through Zany

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Brainy. I used to deliver it out of my Jeep. I mean it was
a great product, but you had to -- you had to -- you had to
do advertising and marketing, they cail it MDF funds, market
development funds. So when you go in the store you're in
their ads. You don’t just go in there because -- you know,
you have to pay for space. They -- they give you these
things. And because I didn’t have the money to do it -- the
buyers loved the product, the buyer at Sears, the buyer at
Zany Brainy. I don't recall meeting a buyer at Noodle
Cadoodle, I think I just called up and got it in. But
again, they were very difficult to pay their bills. So it
was not a -- it was not someone we were interested in doing
business with. And I think they went out of business at
some point. I -- you know, I don't think they're around
that much.

So the buyers liked it and kind of bent the rules,
meaning we didn’t have to pay for those things, but you
actually need to do those things for people to -- consumer
to know who you are, otherwise you're sitting on a shelf.
And depending on the store, you're in the shelf, you're in

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and felt that we would do extremely well in direct
response. My concern was we didn’t have enough time. And
because --

Q. Why -- why did you have that concern?

A. Because for us to do advertising Christmas,
there's certain periods of time -- because of my background
I knew media buy. There's certain periods of time that are
very slow periods, like the week after Christmas and New
Year's Eve is actually a very good time to be in media
because you can get rates for like 40 percent costs, things
like that that a lot of people don’t sell. But in our case,
kids could get TVs or families could get TVs or kids can get
computers and then they want the software or they want the
video machines for it. So there's a lot of those sales that
go on right after Christmas in January.

Robert came in to shoot the commercial, and again
he's -- you know, he's a very -- he'd give me speeches about
it's like you're standing up for the academy award and
you're not grabbing the academy award. You've got to do
this, you've got to do this for Christmas and assured me

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had four to six meetings with the Terrys and Rollin Soskin
regarding an agreement. What was the next step?

A. We were talking to somebody about the direct
response commercial that I just told you what direct
response was.

Right.
And the timing was getting very close.
Who was the person you were talking to?
Robert Blagman.
Okay.
He was recommended from somebody at Eikhoff (ph.)
because we talked to Eikhoff, and I believe Eikhoff thought
we were too small, thought Robert Blagman would be better.
And he was in Los Angeles.
So I don't recall when I started talking to
Robert. It could have September, it could have been
earlier, I don't recall. And he's a tremendous sales guy,

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21 the backroom. You know, I didn’t have a national 21 that we would be on for Christmas.
22 merchandising firm to go and make -- you know, pull my 22 Q. When you say on for Christmas, are you talking
23 product off the shelf. That's what firms did back then, you 23 about this period after people have gotten their computers
24 know, put your product on or put yours in the back and put 24 and TVs --
25 yours front. 25. =A. No, before.
Page 103 Page 105
Q. Were you successful at Zany Brainy in terms of 1 Q._ -- for Christmas?
sales? 2 A. It should have been -- being on for --
A. I think successful's relative. I thought we were 3 Q. Before --
because we sold through, primarily in the Northbrook stores 4 A. -- Christmas means probably beginning of December.
I thought it was very successful. But we were selling at 5 preferably right around Thanksgiving through I'd say a four-
their other stores too. The software was the most 6 weeks -- four-week time period.
successful, Jack's Attic and Jack's House. 7 Q. Now do you recall when Mr. Blagman was telling you
Q. Okay. What was the next thing that happened? You 8 that, that he would have you on by Christmas -- have you on

for Christmas?

A. My guess would be September-October because
October would be close. He -- he said things that he bought
blocks of media time, which is very normal for firms to do
when you're a media buying firm that you kind of buy that
time. I don't know if you technically buy that time or you
have good relationships that they call you to say, hey, we
have time at seven in the morning or two in the afternoon or
two in the morning. But assured me, because I remember
having numerous -- I mean I talked to him numerous times
because I'm really picky with things.

I mean I put my heart into it and get very -- you
know, and I was -- you know, I was -- I was upset that the
spots weren’t where they were supposed to be. I was upset
-- you know, we -- I -- I-- to absorb a lot of the costs, I
did the casting, we did it at my house. He made a big
production, and we actually -- we had a friend in the

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business that we -- that we wanted him and should have had
him done the commercial, we felt it could have saved money.
But Robert said we had to have people who do direct
response.

And I didn’t know direct response. My TV days
were limited to I believe one schedule for Nevada Bob's I
think it was. It could have been Fannie May, but I'm pretty
sure it was Nevada Bob's. But mine was really radio, 99
percent of everything I did.

I know with radio when there's open time, that's
where you get good rates because everybody's pitching and
pitching. And then there's -- there's time that no one's
selling. And there's -- there's just like windows of
opportunity that you can be very efficient with your media
buying.

So Robert kept assuring me that we would be on in
time, so that's why we started working on everything
immediately, working on writing the commercial, coming in to
produce the commercial. I believe they edited it right
away. It was actually a very nice commercial I thought, I
think we all thought. And then getting it on with -- his
plan was -- I believe he was either going to do key markets,
it's a little fuzzy now, because he -- he was handling that

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assurances that he could get you on --

A. Mm-hmm.

Q. -- you hadn’t made the TV commercial yet?

A. We had already started writing the commercial,
finished writing the commercial. They came in I remember
Thanksgiving break and we shot the commercial. They flew |,
out immediately and edited the commercial during their |
Thanksgiving break and it would be on right after because he |
said how quickly they could do everything, which they did.

Q. When did the commercial go on TV?

A. I don't recall when it went on TV. I would say
right at the beginning of December. Maybe it was the end of
November, but I don't recall. I could look. I have all the
-- I forget what you call it -- the invoices is not the
right name, but the affidavits of when they went on.

Q. So you were successful in getting the commercial
on in time to make sales for Christmas?

A. We didn’t make sales, but the commercial was on.
They -- it wasn't -- it wasn't on where I was told it would
be on because I remember we had -- that's when a lot of
issues started with him because we kept pressing.

Rollin was -- we had trouble getting affidavits,
trouble getting any information from Blagman after he kind
of sold us. We had trouble getting the airtimes because you
-- you -- you can get them, like they post them and you can

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whole -- that's what he did, he did the media buying. But I
remember certain shows that would be good that kids were
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watching.

RECORDER: Can I take just a minute?

MR. CROOKS: Sure.

RECORDER: Thank you.

(Off the record)

RECORDER: We're back on the record.

Q. When -- when Mr. Blagman told you that he believed
he could get your commercial on television in time for
Christmas, do I understand that you understood him to mean
get your commercial on in order to make sales for people

buying for the Christmas season?

A. Yes.

Q. And as best you recall, when was it he told you
that we can get you on in time for Christmas?

A. Iremember him saying something like they would
edit for a couple days and right after Thanksgiving.
Because that was -- I kept pushing about that because --

Q. It was right after Thanksgiving he told you that?

A. No, it was before Thanksgiving. It was all during
the time we talked that he wanted to get us on right after
Thanksgiving.

Q. All right.

A. That's what I kept -- it was always right after
Thanksgiving.

Q. But my question is when he was giving you these

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get them before the affidavits. You can have the station
email or fax you -- I guess email now, fax then -- when the
anticipated airtimes were. I had nothing to do with the
media buying, but I was aware of where we were promised it
would be on and when -- where it ran.

Q. What was the difference between those two?

A. Well, we were supposed to be on certain shows that
kids watch. And I just recall us being on at goofy times,
like three in the morning and six in the morning when kids
are not watching shows or shouldn't be watching shows.

Q. So it was the time of day that was different as
opposed to the time of the season?

A. Right, mm-hmm.

Q. Allright. So you did have a need to raise funds
to pay for the commercial?

A. That was the whole point. It was to test out this :
commercial, and we really thought the commercial would be
our savior because whenever I had been on TV or the product
was promoted, that's when -- you know, if it wasinalocal |,
newspaper, that's when we sold through Zany Brainy. It was /
-- I was on the local Channel 5 news, it sold through Zany :
Brainy. So -- and just in our travels, even some of the
retailers said you should do direct response. It was just
because we can be there and talk about the message and have |
it -- you know, people respond, you have your 1-800 numbe

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1 an Academy Award and not showing up, assured me thatwe 1 Q. Okay. As to The Film Syndicate agreement, Exhibit

2 would be on for Christmas. He buys blocks of time and 2 6, tell me everything you recall about discussing this

3 there's unused spots. There may or may not have been a 3 agreement with Mr. Soskin?

4 target date. I don't recall but we know it was on -- it was 4 A. Iremember Rollin going to Florida and talking

5 very close to Christmas, the thing on -- right after the 5 about getting back in time to be in the commercial because I

6 editing of the commercial and we shot the commercial 6 remember him wearing a Hawaiian shirt and showing up right

7 Thanksgiving. 7 from the airport and there were scads of kids waiting in

8 Q. Okay. 8 line. And he got to the front and was in the spot. I

9 A. SoI don't remember if there was a target date -- 9 recall -- I thought this was expensive but I had never
10 Q. Whether you -- 10 produced TV commercials. I was -- my background was radio
11 A. -- ornot. I don't recall. 11 And a friend of mind worked in the industry.
12. = =Q. Whether you had a specific date in mind am I 12. Q. Whois that?
13 correct that your -- your testimony is that you wanted to 13. A. Alan Rubens. And I just recall him saying I could
14 get it on in time for Christmas so that sales could be made 14 try to find people and help. It seemed expensive. It was
15 to people buying Christmas presents? 15 just a very casual conversation. My guess would have been
16 A. Mm-hmm. 16 Rollin and I and Gene would have looked through this
17. = Q. And there's -- in bullet point three there's a 17 carefully. I remember Gene and Nicole, because we went
18 reference to upon receipt of the masters. Do you see that? 18 through everything and they were funding the commercial, so
19 It's the third line from the bottom of bullet point three. 19 we would have looked through this in detail because this is
20 A. Where it's underlined? 20 -- this was news to me working with a firm out of L.A. who I
21 Q. Yes. 21 don't know. We tried to -- you know, we had the casting
22. A. Mm-bmm. 22 call at my house. I did the kids. I remember being over
23 Q. Did that relate -- when you got the masters did 23 the top upset because they charged us for cell phone bills
24 that relate in anyway to when the commercial could get on | 24 that were expensive. I don't recall what they were and they
25 TV? 25 didn't have their cell phones with them. They were using my

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1 A. I don't know. Let me looking at the line. It 1 home phone. You know, I just remember I was trying to watc!

2 looks like the line refers to -- The Film Syndicate does not 2 over every penny and just being pissed because it felt like

3 put the commercial on TV. The Film Syndicate would be 3 they treated it like we were a big company.

4 Robert Blagman's company or people that he brings together 4 Q. Other than the Terrys and Mr. Soskin, before

5 to shoot the commercial. They don't book the TV time. 5 signing Exhibit 6, did you review it with or have anyone

6 Robert Blagman does. But Robert Blagman would need to hav¢ 6 else review it?

7 amaster to make duplicates to put -- to put it on TV. Is 7 A. This I would have -- think it would just have been

8 that what you're asking? 8 Rollin. I don't think I would have had anybody else review

9 Q. Yeah. Okay. So receiving the masters does effect 9 it.
10 when you can put it on TV, correct? 10 Q. Okay, I thought this --
11 A. You need a commercial to put on TV. il A. My husband wouldn't have. And Alan Rubens is not
12 Q. You testified a few minutes ago that Mr. Soskin 12 alawyer. He just would have said I know people with direct
13 looked over Exhibit 5 and Exhibit 6 for you, these two 13 response. He would have asked them. But he doesn't -- he
14 agreements you signed, correct? 14 works at an ad agency. He comes up with ideas. He doesn't
15. A. I don't know -- I don't recall if he looked over 15 produce commercials.
16 Exhibit 5. I would have thought he would have looked over 16 QQ. Ithought you said a few minutes ago that Exhibit
17 Exhibit 6 and I recall talking with him about it because I 17 6, you looked over it with Soskin and the Terrys?
18 was concerned and I thought The Film Syndicate was 18 <A. That's what I just said.
19 expensive. And that -- 19 Q. Okay.
20 Q. Do you recall anybody looking over Exhibit 5 and 20 «=A. I'm-- E
21 advising you on it? 21 Q. Where did that take place?
22 A. I don't recall. I mean, maybe it was Rollin, 22 A. We had met -- Rollin and I met at my house. I
23 maybe it wasn't. I just -- I just don't recall. 23 believe most of the meetings with Gene and Nicole was at
24 Q. Ifit wasn't Rollin was it somebody else? 24 Rollin's house. So it was Rollin's house. I remember
25 A. Idon't recall. 25 having a meeting with Gene and Nicole in their office right

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1 by the corner -- I forgot the name of the restaurant -- in 1 A. Because something needs to work and we had no
2 Highland Park. I don't recall where the meeting were going 2 funds to go in retail.
3 to -- 3 Q. IfI-- ifluse the phrase Frankie Avalon's
4 Q. Did you -- did you sign this at the meeting with 4 Marketing Company does that mean anything to you?
5 Mr. Soskin and the Terrys where it was discussed? 5 A. No.
6 A. Ihave no idea. 6  Q. Do you know who they are?
7 Q. Do you have any other copies of Exhibit 6 for 7 A. Frankie Avalon's --
8 example that don't contain the fax markings on them or 8 Q. Frankie Avalon's Marketing Company?
9 contain different fax markings? 9 A. No.
10 A. I would have no idea. If they were in our box we 10 Q. At the time that you were negotiating with the
11 would. Ifthey weren't we wouldn't. I don't know. 11 Terrys and Mr. Soskin, the negotiations, the meetings that
12. = Q. Iffor example you have another copy of Exhibit 6 12 led to the memorandum of agreement, Exhibit 1, what was th
13 where either the fax markings are different or maybe the 13 status of Kids Count sales through Zany Brainy?
14 handwritten portions and changes are different, if you 14 A. Idonot recall.
15 possessed such a document you would have turned this over 15 Q. Were you selling through -- do you recall if you
16 through your attorney, correct? 16 were selling through Zany Brainy at the time?
17. _—~A. ‘=IfIThad a copy ofa document I assume it would 17. A. We were selling through Zany Brainy -- I recall us
18 have -- yeah, it would have been turned over. I don't know 18 selling through Noodle Kadoodle but they didn't pay their
19 if there was another. I don't recall. 19 bills and we didn't go back into Noodle Kadoodle. I don't
20 Q. What's -- who did if anyone international work for 20 remember when that was. I remember selling the software
21 Kids Count? And I want to direct a couple of questions here 21 Jack's House or Jack's Attic or both through Zany Brainy.
22 to the fall of 1998 leading up to the time you entered into 22 Q. Atthe time you were negotiating the agreement
23 the memorandum agreement. Was anybody doing international] 23 with the --
24 sales or marketing for Kids Count products? 24 A. That was --
25 <A. I mean, other than one of my dogs? It was me. 25 Q. -- Soskins and the Terrys?
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1 There was nobody doing sales except me calling Zany Brainy} 1 A. I would think that we were because that's where we
2 and calling Sears. 2 were selling. I don't recall what month. I don't recall
3 Q. Okay. Tell me about what you did internationally 3 what year but our -- that's where we started off. I recall
4 to promote the products, if anything? 4 trying to get the video in and I -- we may have had the
5 A. It was always our goal to have this company grow 5 video in for a short period of time. I -- maybe not. I
6 to be a global international company. But first we had to 6 don't recall. But I recall trying to call the buyer and not
7 get it off the ground, get funding, develop a following, 7 getting a return phone call.
8 make products, make money. 8 Q. You testified before about there was a period of
9 Q. So-- 9 time when you sold through Sears?
10 =A. I don't recall if there was -- if any people wrote 10 A. Mm-hmm.
11 us internationally that heard about the product and bought 11 Q. When did that end?
12 the product. 12 A. I went into Sears I believe in '96. I believe.
13. Q. Okay. : 13 And it was supposed to be a displayer up for a short period |
14 ~A. Butit would have been in -- I mean, in my dreams 14 of time and it was up until it basically broke. So it was
15 to do something internationally. 15 up for a period of months.
16 Q. Okay. Do I understand then that you were focusing 16 Q. Oh, just several months in you believe '96?
17 on getting it off the ground and getting the products sold 17 A. Mm-hmm.
18 domestically and as you grew you were going to expand to the 18 Q. And then you were no longer selling through Sears? |
19 international markets? That was your hope some day? 19 A. Yeah, it wasn't that Sears had a software
20 <A. Yeah, [just have no clue how much I would have 20 department.
21 thought about that back in 1998. 21 Q. Yeah.
22 Q. Okay, that was a distant thought back in '98? 22 A. So it was a corrugated displayer that they said
23. +A. Idon't recall but I can't imagine. I think I was 23 give it four weeks. But in some stores it was up for months |
24 more focused on let's see if the direct response works, 24 and then it would get hit with the vacuum cleaner so I heard},
25  Q. Okay. 25 and fall apart.

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1 Q. Okay. So that ended your marketing through Sears?
2 A. Yeah. It was like an in and out program they'd
3 call it.
4 Q. How about Discovery Toys? There was a time period
5 when you sold your products through Discovery Toys --
6 A. Yes.
7 Q. -- correct?
8 A. Mm-hmm.
9 Q. What time period was that?
10 A. To the best of my recollection I don't know if it
11 was '97, '96, '98. I don't recall. I do recall that it was
12 -- the game was broken a lot. With software you have to
13 keep updating it and we didn't have the money or the
14 resources to keep updating it. So it was very challenging.
15 Soft -- video you can pop in a machine and it's okay.
16 Software, if you don't -- even if you do update it, someone
17 can put together a computer, it's a different configuration.
18 There were tech problems like crazy, over the top. And we
19 didn't have the money or the resources to update the game.
So there were more tech problems than one would want.
21 Q. So did that end your sales at Discovery Toys
because you had to upgrade --

A. No, but it was -- well, we eventually upgraded.
- When we had a licensing agreement we took money and upgraded

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A. Conceptually I can have an idea.

Q. Yeah.

A. ButI don't -- I mean I would have done it more
from my gut instinct meaning-the buyer returned my phone
call and I was able to speak to them and I'd try to get the
product in.

Q. That -- that meaning -- how is that answering my
question. I don't know if I understand your answer.

A. Well, I --

Q. Let me break it down one at a time --

A. Ask me your question --

Q. The phrase supply chain analysis, do you know wha'
that means?

A. It sounds like something that somebody would have
written in a business plan of mine or in a business plan to
tell you the truth.

Q. Do you know what it means?

A. I would assume it's analyzing the different
markets that your product's in.

Q. And why would you assume that?

A. Because that's what it sounds like, supply chain
analysis.

Q. Okay. Do you know what the phrase activity based
costing is? Means -- what it means?

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25 it. 25 A. Notreally. I would assume it means doing an
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1 Q. When was that? 1 analysis on where your activities are. Again, it sounds

2 A. With Vicki Lou. 2 like something that somebody would write in a business plan.

3 Q. All right. 3 Q. You had a variety of business plans over the

4 A. That was the first thing we did was upgrade 4 years?

5 because you can't -- you just -- it wasn't working. 5 A. Yes.

6 Q. As best you recall when did your sales through 6 Q. Who wrote them?

7 Discovery Toys end? When did you stop making sales through| 7 A. A variety of people.

8 that entity? 8 Q. Can you name any of them?

9 A. I don't recall but it's been several years. 9 A. People who worked with the companies at different
10 Q. So, sometime in 2002 approximately? I mean -- 10 times helped writing business plans. Barry Moltz helped
11 A. I don't recall but it's been several years. 11 with parts of them with Vicki Lou.
12. QQ. Fromnow? I mean, several years going back from 12. Q. How about 1998 and prior thereto? Can you
13 today as we sit here today? 13 identify anyone that wrote any of your business plans during
14. A. Yes. I don't recall when we were last with 14 that time period?
15 Discovery Toys. 15 A. Idon't recall.
16 Q. Okay. 16 = Q. Would you write any --
17._—A..:«cT know that they were not happy about the games 17. ~——A. ~ We'd have an employee --
18 not working. 18 Q. -- of them?
19 Q. Have you ever had any experience with supply chain 19 A. I wrote parts of them. Anything like that I would
20 analysis or activity based costing? Do you know what those 20 not have written. We would have an employee -- because I
21 phrases mean? 21 don't speak that same language. We had an employee for a
22 A. Supply chain analysis? 22 short time named Craig Carter from Sprint. Sounds like
23 Q. Right. 23 something he would -- that would be his marketing language |
24 A. Or activity based costing? 24 but I can't verify that.
25 Q. Right. 25 Q. When did he stop working for you?

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1 A. Avery short time. I don't recall.
2 Q. Do you recall the year?
3 A. Iknow it was before -- was when I had an office.
4 So it would have been probably '98, '97. It was before I
5 moved everything back in my house.
6 Q. Allright. You sort of calculated it out loud but
7 I'm not sure what you're answer is.
8 A. I don't recall exactly. It was before I moved in
9 my house. It could have been '98, it could have been '97.
10 I don't recall.
11 Q. When did you move back into your house?
12. ~A. Back into my house or into my house?
13. Q. Move in -- move into your house? When you say
14 move into your house you're talking about moving your
15 business into your house --
16 A. Imoved my business into my house.
17 QQ. When did you do that?
18 <A. Idon't exactly recall but I believe it was
19 sometime in '98. I moved into my house in '98, June. So it

would have been sometime in '98 that I was in my house --
for years in my old house so --

Q. Prior to your entering into the memorandum of
agreement did you have an offers from any persons or
entities to purchase Kids Count Entertainment?

A. We spent probably an hour last time talking about

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Q. Do you recall that as an organization that
marketed some of your products -- Jack's Attic, Jack's House

A. I don't recall --

Q. -- at some point?

A. -- the name. Is there another name that they go
by maybe?

Q. Not that --

A. I don't --

Q. Not that I'm aware of.

A. I don't recall the name Interactive Kids.

Q. IfI suggested that perhaps Jack's Attic was a
featured item being promoted by Interactive Kids does that
ring a bell?

A. Idon't recall the name Interactive Kids. There
could be another name that they're operating under that I
could recall. But I don't recall the name Interactive Kids.

Q. Do you recall an entity named Advanced Master Card
and any involvement they had in marketing any of your
products?

A. This may not be the same company but I recall
Rollin negotiating with somebody that had to do with swipin:
credit cards. I don't know if that's Advanced Master Card
or not. I don't recall.

Q. Let me ask you this: did you ever have an

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Bob Bernard and talking about a meeting that was no more
than a meeting that you kept asking if there was an offer.
And I said it was a meeting.

Q. My understanding was they were going to purchase a|
small -- there was a question of whether they would be
interested in purchasing a small -- purchasing a small
percentage. My question to you is whether anybody said,
hey, we'll buy the whole company from you?

A. No.

Q. That never happened?

A. No, not to my knowledge.

Q. Okay. Well, you were the president of the
company. Is it fair to say --

A. Stranger things have happened. Someone could have
told someone else that never told me.

Q. Well --

A. Not to my knowledge.

' Q. Well, so there may have been offers to buy the
company but if there were you were not aware of them?

A. Not to my knowledge.

Q. Okay. Can you tell me about an organization
called Interactive Kids?

A. Interactive Kids?

Q. Yeah.

A. I don't recall what Interactive Kids is.

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agreement with a credit card company? Forget Master Card.
Any credit card company whereby when they sent their bills
out you would have a little flier enclosed to try to get
people to buy some of Kids Count's products? Did you ever
do that?

A. Iknow we wanted to do that, talked about doing
that.

Q. Who did you talk to about that?

A. I don't recall who we talked about doing that
with. Iremember years ago but I don't think it was a
flyer. It was something with Triaminic cough syrup or
something. I don't know if that's Advantage --

Q. Is that -- is that Triaminic Parents Club?

A. That could be it, Triaminic Parents Club. That --
I don't remember how it came about. I have no clue who I
talked to. I think they were out of New York. I don't
recall.

Q. Did you ever reach an agreement with them?

A. I feel like we did something once but I don't
recall what it was. I vaguely recall trying to see if they
would do something again and nothing ever happened. That
the best that I can recall.

Q. Can you recall through any entity using that --
that marketing approach I just described about having your
advertisement inside a credit card bill when it went home to

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1 someone? 1 thought it was almost done. But when you don't touch a game [
2 A. No. I know that I wanted to do that. I don't 2 for months everything changes. With games you have to
3 recall us doing that. 3 constantly update it. So they --
4  Q. Okay. 4  Q. That game, is that Spuzzle or was that something
5 A. Ifsomeone did something I just don't recall. But 5 addition -- in addition --
6 I wanted to. 6 A. It was --
7 Q. Did you ever work with a company called NAC 7 Q. --to Spuzzle?
8 Marketing to -- to do any marketing of Kids Count products? 8 A. -- Spuzzle.
9 A. Iremember the name NAC but I don't recall if that 9 Q. That was Spuzzle?

10 someone with radio, because I was doing a radio interview 10 A. Mm-hmm.

11 once. And I'm thinking that was NAC. But then I also 11 Q. So by the time you entered into the memorandum of

12 thought there was a religious organization. I don't recall 12 agreement had -- had the work on Spuzzle, had that fallen to

13. which was which. But I'm thinking NAC may have been when [ 13 the side or were you still developing that into a game to

14 had -- they had me on the radio for something. 14 market?

15 Q. Okay. Just -- it was just a one time appearance 15 A. Well, I'm not a programer. I had no employees.

16 on the radio to try to sell some product? 16 Joanne came on. Joanne was an office person. So she's not

17. —A.:«sI'mpretty sure that's what it was. 17 a programer. So nobody was working on Spuzzle. It was a

18 Q. Allright. 18 game that before the office closed up and I moved back to my
19 A. ButI'mnot sure. But if that was -- I know there 19 house we had people working on it. When the office closed

20 was also religious but I'm thinking NAC was maybe the radio. | 20 up and moved back to my house nobody was working on it. W
21 Q. Did you ever do any marketing through a website 21 were told by people working on it that it was almost done.

N
NO
No
N

So from that period of time to now, I mean, you know, no
one's touched the game. But it seemed like a good concept
and there was a lot of work done it, maybe six or nine

with the name Kids Count in America, Voices of our Future?
A. I don't think we ever had a website but I don't
recall. But it was a program idea that I had a concept for.

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25  Q. When I said Kids Count in America, Voices of our 25 months. I don't recall. Maybe longer.
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1 Future, that was the program you had a concept for? 1 Q. So is it -- is it fair to say that as far as

2 A. Yes. 2 Spuzzle goes that wasn't a product that at the time you

3 Q. Describe that concept for me? 3 entered into the memorandum of agreement you expected to

4 A. It was a concept that I had to have kids around 4 have on the market in the let's say the first quarter of

5 the country write in how they'd like to make it a better 5 1999?

6 world. And then ultimately do something with it, get a 6 A. That was a product that was partially done and

7 retailer to sponsor it and sell -- build -- you know, make 7 with funding we could have opened it back up and hired

8 products and sell products. 8 programers and finish it. Without it you couldn't.

9 Q. How would -- would the kids write in relate to the 9 Q. And the funding you were seeking from the Terry's
10 products? 10 was not intended to develop Spuzzle. It was intended for
11 A. Don't know. It was a concept to do a promotion. 11 the television commercials?
12. = Q._ Did it ever get behind the -- beyond the concept 12 A. It was to promote the -- to do the TV commercials.
13 stage? 13. Q. Okay. So then am I correct that -- understanding
14 A. No. 14 that maybe sometime down the road Spuzzle might have been
15 Q. At the time you entered into the memorandum of 15 picked up again and finished. At the time you entered into
16 agreement was there any software that you were at that point | 16 the memorandum of agreement you did not have a thought tha
17 in the process of developing but not yet developed? 17 that was going to be something you'd have on the market the
18 A. There was one game called Spuzzle. I wasn't in 18 first quarter of 1999?
19 the process of developing but we spent the old -- the 19 A. Well, I thought it could have been. It had to be
20 company spent I don't know how much time. It was a long 20 finished. It was a matter of it being finished. We were

No
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time. I don't know if it was six months or nine months. I
was developing it then because I'm not a programer and I had
no money to develop it. But we had a game that we were told
was almost done. It wasn't that easy that it was almost

done. But we had graphics for it. And it looked -- I

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told it was pretty much done. It was only till -- you open
something -- if there's a software game that's pretty much
done and you open it up in a week pretty much done, if it
is. If you open it up in nine months there's probably two
new programs of director or whatever it was made in and you

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kind of got to start from scratch. For each day, each
month, that becomes very dated unlike music that when you
have a master it's a master. Unlike a commercial, when
there's a master it's a master. Or a videotape. Software's
a different story.

Q. Allright.

A. So with the time I would have probably hoped we
could get it on and sell it but we'd have to go back in.
Whether it was $200 or 2,000 I wouldn't have known. But my
guess is my intention would have been thinking the game was
almost done, because that's -- it was at that point. I just
-- I'm not a programer so I can't swear on a stack of bibles
what's left to be done because I wouldn't know. I would
rely on a programer saying it's almost done.

Q. Was Spuzzle -- were characters in the Spuzzle game
intended at some point to be used potentially in a TV show?

A. Characters in a Spuzzle game?

Q. Yeah.

A. There was one character that was a screw who's --
not characters. I don't know if that character was intended
to be used ina TV show. There was animation done that was
software.

Q. Were there -- were there ever characters that you
developed? Was there ever a plan or talk or negotiations

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fucking waitress and could never work another day in this
business. And then Rollin sent a letter shortly after I
don't know how long saying that it seems that our interests
are not aligned and we better get another attorney. I
continued to -- my allegiance was with saving the business
and raising money and having creditors -- taking care of the
creditors of which Gene was one and Nicole were one. And so
I tried to do everything I could do to turn over any
business opportunity to make that business develop. And
that was actually going on probably from January through May
as well where the Terrys and Rollin were very aware of it
because we had a meeting with somebody named Joanne Marlowe
who wanted to put money in the -- and Rollin went to the
meeting and she sent a horrible letter afterward that Rollin
was too pushy and I don't recall the letter. It's probably
in discovery. And Gene and Nicole and Rollin and I all
decided I'd be the front person to go meet with anybody who
-- who would meet with me to bring money into the company.
And then ‘once they were interested, you know, they would ask
-- they would ask the tough questions. But they wanted me
to be the front person. So when trying to turn every
possibility we -- I met with a lot of people. I don't know
if that answers your question.

Q. I forgot what it was.

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25 about turning those characters into a television show? 25 A. The-- how far we went with the TV commercial --
Page 252 Page 254
1 A. There were characters that I didn't develop but 1 we were talking about the -- what, PBS?
2 Alex Paige, who owns those characters, developed. And 2 MS. KROL: PBS.
3 because he drew them and that was for -- to go into a TV 3 A. Ihad gotten an agreement to host a show which we
4 show. 4 would have had a sponsor. So that didn't go anywhere. And
5 Q. And who did Alex Paige work for? 5 I was also talking to somebody named Mark Robbins from
6 A. DDB Needham. 6 Warmer Brothers. And --
7 Q. And what's his relationship with Kids Count? 7 Q. How did you meet him?
8 A. He was a friend of a friend of mine at DDB Needham 8 A. I met him in 1980, '81 when I worked as a
9 and it was all of our dream to do a TV show. And with 9 secretary at Blair Television. He worked there.
10 funding we'd have a new company and with all the things you| 10 QQ. And when was it you were negotiating with him?
11 need to do that would be ultimately a way to grow the 11 A. Well, it was really negotiating with him. He
12 company and a way to survive and build a company. 12 bumped into me -- I bumped into him on a plane. I don't
13 Q. How far did that dream get? 13 remember when, '96, '97 -- Gateway Computers, when I was 0
14. A. Itdidn't -- it didn't get far. 14 there, And he said I could build this into the Martha
15 Q. Was -- were there any other characters in -- that 15 Stewart, blah, blah, blah, blah. So for about a year and a
16 were ever considered for use in a television show connected 16 half he'd call me and say you want to go to L.A. to meet
17 with Kids Count in anyway? 17 with Warner Brothers and I'd say yes. And then he wouldn't
18 <A. Characters? Not to my knowledge. 18 follow up with the meeting. I believe I had told -- I'd
19 Q. When you said to me that it didn't get very far in 19 have to -- I'm sure it's in documents because I used to
20 reference to these characters as a friend of a friend had 20 tell, you know, Rollin and Gene and Nicole everything and
21 created. How far did it get? 21 fortunately wrote stuff down. But that was a possibility.
22 A. It got -- while I was meeting with Rollin and the 22 It was Alan Rubens' dream -- Alan Rubens is my friend DDB
23 Terry's I was talking to PBS. And after that horrible 23 Needham to do a TV show. I won't get into it but he almost :
24 meeting in May, which we don't have to get back into again, | 24 died years ago from a brain tumor. And he's very talented
25 at the Marriott Hotel, you know, being told I could be a 25 and very priority driven. He doesn't like people who are

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full of baloney. And Alex Paige is an associate and friend
of Alan's who's an artist. So the three of us had meetings
with Mark Robbins and Mark didn't -- he didn't say what he
did and did what he said a lot.

Q. Are you done?

A. So ultimately there was no deal with Warner
Brothers and they were not going to be part of it if Mark
Robbins was part of it, Alan Rubens and Alex Paige.

Q. Was it -- it was Alan Rubens that didn't want
anything to do with it if Mark Robbins was involved or
Wamer Brothers?

A. Alan Rubens didn't want anything to do with the
project and he was the one writing it because I'm not a TV
show writer and it was his thing, not me. I don't come up
with those kind of -- and Alex was the one drawing it. I'm
not an artist. But they both would not be part of it if
Mark Robbins was part of it. Because we spent a lot of time
and a lot of effort and a lot of --

Q. Why did they not want --

A. -- energy --

Q. -- Mark Robbins involved?

A. Because they thought he was full of baloney and
not using him. I think we put all this stuff in discovery.

Q. And did Mr. Robbins ever introduce you to people
at Warner Brothers?

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mentioned wrote.

Q. Is this part of a business plan for Kids Count?

A. I don't know if it ever made it into a business
plan but this is something that -- I don't recall how long
Craig Carter was there for. I think it was a few months.
But it was something that he put together. It may or may
not have been cut and pasted into a business plan. I don't
recall.

Q.. Is this document as well as additional materials
as part of a business plan on a computer that you had in
1998? And let me tell you why I ask this. If you look down
in the right hand corner there's a date, November 4, 1998.
Do you see that?

A. Mm-hmm.

Q. No, I also have a business plan here, and I'll
turn to -- I'll mark this eventually but I haven't marked it
yet. And it has a page just like that, Executive Summary

A. It might have been cut and pasted into that.

Q. And it has the date November 5th, 1998 on it. And
the -- what I'm leading up to is it looks to me like it's
the kind of document that maybe every time you print it off
the computer it puts the date that you printed it off the
computer?

A. I would think so --

Q. Do you see what --

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Sure.
Did you have a meeting with Warner Brothers?
Sure.
Was Mr. Robbins present?
Sure.
Who else was present?
The first meeting was with Mark Robbins and
myself. The second meeting was Mark Robbins, Alex Paige and °
I remember Mark Robbins brought Buddy Meyers, his friend and
attorney, but I don't -- I assume he was at the meeting.
RECORDER: Hang on now. I've let the tape run
out. Let me -- this is the end of the first tape and we've
got two hours and two minutes will be on that. And we've
got two hours and four minutes on this thing. Off the
record to change a tape.
(End tape 1 -- Begin tape 2)
RECORDER: We're back on the record. It's the
beginning of the second tape. It's 12:19. Go ahead.
MR. CROOKS: Would you mark this as Exhibit 7,
please.
(Document marked as Exhibit 7 for identification)
Q. I'm going to hand you what's been marked
deposition Exhibit 7 for identification, a document entitled
Executive Summary. Do you recognize what this document is?
A. Yes, it was something a person Craig Carter I

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A. I'm not that good --
Q. -- I'm saying?
A. -- with doing that -- and it's probably set up
that way.

Q. Okay. Ail right. I mean, that's what it looks
like to me. But at least you're not -- you don't have any
recollection which disputes what I just said as far as the
date? I'm just trying to understand that date. Do you have
any other explanation for what that date is?

A. No.

Q. Okay. If you go to page four of six there's a
paragraph titled The Company. And the last -- oh, last
sentence, maybe two sentences of that -- the last two
sentences of that says, "Her unique talent for populating
imaginative situations with captivating characters, adding
creative learning experiences and envisioning products tha
appeal to both children and parents is the driving force
behind Kids Count. Additionally, Vicki's advertising
expertise and ability to express her personal mission is a
distinct competency that plays a vital role in gaining
business and promoting media attention." Would you agre
with that statement?

A. Yes. Well, I don't know about populating
imaginative -- it's very well written. I'd love to take
credit for writing it. I'm sure Craig Carter wrote it

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A. I would assume it was a recap. I just don't know
if it was mine or one of the people in their office. But
this was all from draft and I think it's -- yeah, it says
draft on there on the fax from them. Some things look like
my handwriting, other things don't look the way I wrote.
So, I don't know.
MR. CROOKS: Okay. All right, that's all the
questions I have.
9 WITNESS: Can I keep this? Or she gets one --
10 MR. CROOKS: That's an exhibit but your counsel
11 has --
12 WITNESS: Thanks.
13 MR. CROOKS: -- another copy.
14 RECORDER: Anything further?
15 MR. CROOKS: That's all the questions I have.
16 RECORDER: We're going off the record on this one.
17 It's 1:56 and the elapsed time on this second tape here is
18 an hour and 27 minutes.

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1 CERTIFICATION
2 I certify that the foregoing is a correct
3 transcript from the record of proceedings
4 in the above-entitled matter.
5
6 Mark Douglas Lokken
7 December 28, 2005

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